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                           ASSIGNMENT AND ASSUMPTION OF LEASE


         This ASSIGNMENT AND ASSUMPTION OF LEASE ("Assignment") is made and entered into
effective as of June JQ, 2014 (the "Effective Date"), by and among Ascent Realty, LLC, an Arkansas
limited liability company ("Assignor"), Ascent. LLC, an Arlams~ liability company ("Assignee"), and
Asset Management Associates, LLC, an Alaska limited liability company ("Landlord").

                                                RECITALS:

         A        Landlord and Assignor have heretofore made and entered into that certain Lease dated
June 11, 2014, for the premises (the "Premises") consisting of approximately 8,350 square feet of
commercial space located at 3607 Oak Lawn Avenue, Dallas, Texas 75219, all as described more
particularly in the Lease (the "Lease"). A full copy of the Lease is attached as Exhibit A hereto.

       B.       Assignor desires to assign all of its right, title and interest in the Lease to Assignee,
Assignee desires to accept and assume the same, and Landlord is willing to consent to the proposed
Assignment, all on the terms and conditions hereof.

         NOW THEREFORE, in consideration of the mutual terms and conditions herein contained, and
other good and valuable consideration. the receipt and sufficiency of which are hereby aclmowledged, the
parties hereby agree as follows:

        1.      Assignment. Assignor hereby TRANSFERS, ASSIGNS, GRANTS AND CONVEYS to
Assignee all of Assignor's right, title and interest, in. to and under the Lease, including any security
deposit or prepaid rent therellllder.

        2.       Acceptance. Assignee hereby accepts the Assignment granted herein, and assumes and
agrees to make all payments and to perform all other obligations of Assignor under the Lease accruing
from and after the Effective Date of this Assignment.

         3.      Obligations Prior to and Following Effective Date. All obligations under the Lease
arising, accruing or relating to the period before the Effective Date are allocated to Assignor and all
obligations arising, accruing or relating to the period thereafter shall be allocated to Assignee. If the
Effective Date occurs other than at the end of any period for which rentals or other charges under the
Lease accrue or are due, then such rentals or other charges will be prorated between Assignor and
Assignee on a per diem basis. Any as yet undetermined charges may be reasonably estimated by
Landlord in its sole discretion. subject to re-proration between Assignor and Assignee after the actual
charges have been determined.

        4.      Release and Surrender of Assignor. Except as is otherwise expressly set forth in this
Assignment, Assignor is hereby fully discharged and released by Landlord of and from any and all further
obligations under the Lease as of the Effective Date. Notwithstanding the foregoing, Assignor will
remain liable for all indemnities, liabilities and obligations that accrued prior to the Effective Date and all
guarantors of the Lease shall remain liable in connection with the Guaranty of Lease entered into in
connection with the Lease.

        5.       No Release or Further Transfer.

                (a)     Continued Liability of Guarantors. Landlord's consent shall not be deemed in
        any way or manner to be a waiver or release of Guarantor under that certain Guaranty of Lease
        dated June 11, 2014 from the responsibility and liability for the payment of rent or other amollllts

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        under the Guaranty of Lease and for compliance with any and all obligations to be performed by
        Tenant as the tenant under the Lease.

                 (b)      Prohibition Against Further Transfer. Assignee shall not. without Landlord's
        prior written consent in each instance (except as may be otherwise provided in the Lease), (i)
        convey, assign or encwnber the Lease or any interest in the Lease, directly or indirectly,
        voluntarily or by operation of law, including the merger or conversion of Assignee with or into
        another entity, (ii) sublet all or any portion of the Premises, or (iii) pennit the use or occupancy of
        any part of the Premises by anyone other than Assignee (any of the foregoing actions shall be a
        "Prohibited Transfer'). Following any Prohibited Transfer, Assignee (and Guarantors) shall
        remain fully liable under the Lease and this Assignment, as either may be amended with or
        without notice to or consent of Assignee (or Guarantors), and Landlord may proceed directly
        under the Lease, the Guaranty of Lease or this Consent against Assignee (or Guarantors) without
        first proceeding against any other party.

         6.     Landlord's Consent. Landlord hereby consents to this Assignment and the transaction
contemplated hereby and the terms hereof upon the terms and conditions set forth herein. Unless and
until Landlord has executed this Assignment, this Assignment is of no effect, notwithstanding that
Landlord may have accepted and may continue to accept rent or the performance of other obligations
under the Lease by Assignee. The consent granted herein should not be construed as consent to any
further assignment. The failure or delay of Landlord in seeking to enforce any provisions of the Lease or
this Assignment should not be deemed a waiver of rights or remedies that Landlord may have, or a waiver
of any subsequent breach of the terms and provisions therein or herein contained. Nothing in this
Assignment will ( a) enlarge or increase Landlord's obligations or liability or (b) reduce or decrease
Landlord's rights, under the Lease or otherwise.

         7.      Notices. Any notice given by any party to another party hereto must be given in the
manner required under the Lease. The addresses set forth below supercede any addresses for notices set
forth in the Lease.

                     lfto Assignee:    c/o Larkin Group
                                       6750 W. Loop S., Suite 950
                                       Bellaire. Texas 77401
                                       Attn: Greg McGaw

                     If to Assignor:   c/o Larkin Group
                                       6750 W. Loop S., Suite 950
                                       Bellaire, Texas 77401
                                       Attn: Greg McGaw

       8.        Successors. Except as herein otherwise provided, this Assignment will be binding
upon and inure to the benefit of the parties hereto, and their respective heirs, executors,
administrators, successors and assigns.

        9.       Indenmification by Assignee. Assignee hereby agrees to indemnify, protect, defend
and hold hannless Assignor from and against any and all claims, losses and damages, including
without limitation, reasonable attorneys' fees and costs, arising from and after the Effective Date of
this Assignment that may at any time be asserted against Assignor by (i) Landlord for failure of
Assignee to perform any of the covenants, agreements, terms, provisions or conditions contained in
the Lease, which Assignee is obligated to perform by reason of the provisions of this Assignment, or

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(ii) any person by reason of Assignee's use and/or occupancy of the Premises. This Section shall
survive the expiration or earlier tennination of the Lease and/or this Assignment.

        10.          Indenmification by Assignor. Assignor hereby agrees to indenmify. protect.
defend and hold harntless Assignee from and against any and all claims, losses and damages,
including without limitation, reasonable attorneys' fees and costs, arising prior to the Effective Date
of this Assignment that may at any time be asserted against Assignee by (i) Landlord for failure of
Assignor to perform any of the covenants, agreements, terms, provisions or conditions contained in
the Lease, or (ii) any person by reason of Assignor's use and/or occupancy of the Premises. This
Section shall swvive the expiration or earlier termination of the Lease and/or this Assignment.

        11.     Counterparts. This Assignment may be executed in multiple counterparts, each of
which, once executed, will be an original and fully-binding on the parties so executing~ and all such
cowtterparts together constitute one and the same agreement.

        12.      Severability. If any term or provision of this Assignment or the application thereof to
any person or circumstances shall, to any extent, be invalid and unenforceable, then the remainder of
this Assignment or the application of such term or provision to persons or circumstances other than
those as to which it is held invalid or unenforceable, shall not be affected thereby and each term or
provision of this Assignment shall be valid and be enforced to the fullest extent permitted by law.

         13.    Further Assurances. Assignor and Assignee, at any time after the Effective Date, will
promptly execute, acknowledge and deliver any further docwnents and instruments of transfer,
reasonably requested by the other party and necessary to comply with the representations, warranties
and covenants contained herein and will take any action consistent with the terms of this Assignment
that may reasonably be requested by the other party to accomplish the purposes of and the
transactions contemplated by this Agreement and the docwnents executed in connection therewith.

        14.    Binding Offer. This Assignment will not be binding on any party hereto wttil
executed and delivered by all three parties herein named.



                                [signature page immediately follows]




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       IN WITNESS WHEREOF, the parties have executed this Assignment as of the date first
above written.

                                           ASSIGNOR:

                                           ASCENT REAL TY, LLC,
                                           an Arkansas limited liability company




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                                           ASSIGNEE:

                                           ASCENT             ·, LLC,
                                           an Arkansas limited liability company


                                           By:~
                                           Name: ___=-~-#-'=-<a,
                                                        . . . . . """""'.,.......,,~"""""--
                                           Its:               manager

Landlord hereby executes below to aclmowledge its consent to the foregoing Assignment.

                                           LANDLORD:

                                           ASSET MANAGEMENT ASSOCIATES, LLC,
                                           an Alaska limited liability company


                                           By:-----------
                                           Name:
                                           Its:
                                                   -----------
                                                  -------------




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                                    CONSENT OF GUARANTORS

In connection with that certain Guaranty of Lease (the "Guaranty") attached to the Lease, the
undersigned consent to the terms and conditions of this Assignment and acknowledge and agree that (i)
such Guaranty remains in full force and effect. and the undersigned hereby ratify and confirm their
liability and obligations thereunder, (ii) the execution of this Assignment shall in no way diminish the
liability of the undersigned under such Guaranty, nor impair or affect the enforceability thereof against
such undersigned parties, and (iii) the liability and obligations of the undersigned shall extend to and
include the liability and obligations under the Lease and this Assignment.

                                                      GUARANTORS:

                                                          ~
                                                      Cole Peck, M.D.
                                                      1001 CR 759
                                                      Jonesboro, AR 72401


                                                      Ja Lynn Kuo,   M.D.
                                                      2014 W Colonial
                                                      Orlando, FL 32804


                                                      ~~
                                                      1001 CR 759
                                                      Jonesboro, AR 72401




                                                      Salima Thobani
                                                      6945 Alta Vista
                                                          c Palos Verdes, CA 90275


                                                           Mark Wilson
                                                           S 27th St
                                                           ould, AR 72450




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                                         CONSENT OF GUARANTORS

In connection with that certain Guaranty of Lease (the "Guaranty") attached to the Lease, the
undersigned consent to the terms and conditions of this Assignment and acknowledge and agree that (i)
such Guaranty remains in full force and effect, and the undersigned hereby ratify and confirm their
liability and obligations thereunder, (ii) the execution of this Assignment shall in no way diminish the
liability of the undersigned under such Guaranty, nor impair or affect the enforceability thereof against
such undersigned parties, and (iii) the liability and obligations of the undersigned shall extend to and
include the liability and obligations under the Lease and this Assignment.

                                                          GUARANTORS:


                                                          Cole Peck, M.D.
                                                          1001 CR 759
                                                          Jonesboro, AR 72401


                                                          Ja Lynn Kuo, M.D.
                                                          2014 W Colonial
                                                          Orlando, FL 32804


                                                          Karen Kuo, M.D.
                                                          1001 CR 759
                                                          Jonesboro, AR 72401


                                                          Subho Mullick, M.D.
                                                          225 S. Main, Apt. 204
                                                          Jonesboro, AR 72401


                                                          James Fletcher, III
                                                          2905 Abernathy
                                                          Jone~boro, AR 724

                                                             / 1tft111t1..
                                                          Sa una Thobani
                                                          6945 Alta Vista
                                                          Rancho Palos Verdes, CA 90275


                                                          Gary Mark Wilson
                                                          4901 S 27th St
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Landlord hereby executes below to acknowledge its consent to the foregoing Assignment.


                                        LANDLORD:

                                        ASSET MANAGEMENT ASSOCIATES, LLC,
                                        an Alaska limited liability company




                                        By:
                                        Name:
                                        Its:




                                   CONSENT OF GUARANTORS

In connection with that certain Guaranty of Lease (the "Guaranty") attached to the Lease, the
undersigned consent to the terms and conditions of this Assignment and acknowledge and agree that (i)
such Guaranty remains in full force and effect, and the undersigned hereby ratify and confirm their
liability and obligations thereunder, (ii) the execution of this Assignment shall in no way diminish the
liability of the undersigned under such Guaranty, nor impair or affect the enforceability thereof against
such undersigned parties, and (iii) the liability and obligations of the undersigned shall extend to and
include the liability and obligations under the Lease and this Assignment.

                                                    GUARANTORS:



                                                    Cole Peck, M.D.
                                                    1001 CR 759
                                                    Jonesboro,AR 72401



                                                    Ja Lynn Kuo, M.D.
                                                    2014 W Colonial
                                                    Orlando, FL 32804



                                                    Karen Kuo, M.D.
                                                    1001 CR 759
                                                    Jonesboro, AR 72401



                                                    Subho Mullick, M.D.




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                                      CONSENT OF GUARANTORS
In connection with that certain Guaranty of Lease (the "Guaranty") attached to the Lease, the
undersigned consent to the terms and conditions of this Assignment and acknowledge and agree that (i)
such Guaranty remains in full force and effect, and the undersigned hereby ratify and confirm their
liability and obligations thereunder, (ii) the execution of this Assignment shall in no way diminish the
liability of the undersigned under such Guaranty, nor impair or affect the enforceability thereof against
such undersigned parties, and (iii) the liability and obligations of the undersigned shall extend to and
include the liability and obligations under the Lease and this Assignment.

                                                       GUARANTORS:


                                                       Cole Peck, M.D.
                                                       1001 CR 759
                                                       Jonesboro, AR 72401


                                                       Ja Lynn Kuo, M.D.
                                                       2014 W Colonial
                                                       Orlando, FL 32804


                                                       Karen Kuo, M.D.
                                                       1001 CR 759
                                                       Jonesboro, AR 72401

                                                         ~~
                                                       Subho Mullick, M.D.
                                                       225 S. Main, Apt. 204
                                                       Jonesboro, AR 72401


                                                       James Fletcher, III
                                                       2905 Abernathy
                                                       Jonesboro, AR 72404


                                                       Salima Thobani
                                                       6945 Alta Vista
                                                       Rancho Palos Verdes, CA 90275


                                                       Gary Mark Wilson
                                                       490 I S 27th St
                                                       Paragould, AR 72450



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                                                 Greg McGaw,
                                                 6750 W. Loop: ·., Suite 950
                                                 Bellaire, TX T      91


                                                                            uite   mo
                                                 Dallos, Texas   c




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                                                      ~cgMcGa:61
                                                      6750 W. Loop S., Suite 950
                                                      Bellaire, TX 77401



                                                      David Shoulders
                                                      17400 N. Dallas Pkwy, Suite 100
                                                      Dallas, Texas 75287




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                                                 EXHIBIT A

                                                   Lease

                                             (see attached)




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                                       LEASE

                                      BETWEEN

                          ASSET MANAGEMENT ASSOCIATES, LLC

                                    ("LANDLORD")

                                        AND

                                 ASCENT REALTY, LLC

                                     ("TENANT")




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                                                LEASE


        This Lease (this "Lease") is entered into by and between ASSET MANAGEMENT
ASSOCIATES, LLC, an Alaska limited liability company ("Landlord"), and ASCENT
REALTY, LLC, an Arkansas limited liability company ("Tenant"), and shall be effective as of
the date set forth below Landlord's signature (the "Effective Date")

1.     Basic Lease Information. The key business terms used in this Lease are defined as
follows:

        A. "Building": The building located at 3607 Oak Lawn Avenue, Dallas, Texas 75219.

        B. "Square Footage of the Building" is 17,548 square feet.

       C. "Premises": Approximately 8,350 square feet located on the 1st floor of the Building,
as depicted on Exhibit A-1 to this Lease. The "Square Footage of the Premises" is
approximately 8,350 square feet.

        D. "Base Rent":

                                                    Annual Rate               Monthly
                     Period                        Per Square Foot            Base Rent

 Lease Month 1                Lease Month 60            $35.00               $24,354.17
 Lease Month 61               Lease Month 120           $40.00               $27,833.33

Notwithstanding the foregoing, but subject to Section 4.1 below and provided that no event
of default has occurred under this Lease beyond the expiration of any applicable cure
period, Base Rent for Lease Month 1 shall be abated.

       E. "Tenant's Pro Rata Share": The percentage equal to the Square Footage of the
Premises divided by the Square Footage of the Building.

        F. "Term": The period of one hundred twenty (120) Lease Months starting on the
Commencement Date, subject to the provisions of Article 3. The first "Lease Month" shall
commence on the Commencement Date and end on the last day of the first full calendar month
occurring after the Commencement Date (i.e., the calendar month in which the Commencement
Date occurs if the Commencement Date is the first day of a calendar month and otherwise the
period between the Commencement Date and the last day of the first full calendar month
following the calendar month in which the Commencement Date occurs). Each other Lease
Month shall be each successive calendar month. The first "Lease Year" shall consist of Lease
Months 1 through 12 and each other Lease Year shall be each successive twelve Lease Month
period (provided that the final Lease Year shall run through and include the Expiration Date).

       G. "Commencement Date": One hundred fifty (150) days after the Effective Date.
Tenant shall promptly apply for a building permit for the space upon execution of this Lease. If,
through no fault or delay by Tenant, Tenant is unable to obtain a building permit from the

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applicable governmental authority on or before the forty-fifth (45 th ) day after the Effective Date,
the Commencement Date shall be extended to the earlier of (i) two hundred ten (210) days after
the Effective Date or (ii) the date on which Tenant opens for business in the Premises.

        H. "Security Deposit": $32,669.38

       I. "Prepaid Rent": $29,190.21. Tenant will pay Landlord on the date this Lease is
executed by Tenant the Prepaid Rent, which amount shall be applied to Tenant's Base Rent and
Additional Rent obligation for Lease Month 2.

        J. "Guarantors": Cole Peck, M.D.; Ja_Lynn Kuo, M.D., Karen Kuo, M.D., Subho
Mullick, M.D., James Fletcher, III, Salima Thobani, and Gary Mark Wilson, jointly and
severally, subject to the terms of the Guaranty of Lease attached hereto and incorporated herein.

      K. "Business Day(s)": Monday through Friday of each week, exclusive of New Year's
Day, Memorial Day, Independence Day, Labor Day, Thanksgiving Day, the day after
Thanksgiving and Christmas Day ("Holidays").

        L. "Law(s)": All applicable statutes, codes, ordinances, orders, rules and regulations of
any municipal or governmental entity, now or hereafter adopted, including the Americans with
Disabilities Act and any other law pertaining to disabilities and architectural barriers
(collectively, "ADA"), and all laws pertaining to the environment, including the Comprehensive
Environmental Response, Compensation and Liability Act, as amended, 42 U.S.C. §9601 et seq.
("CERCIA"), and all restrictive covenants existing of record and all rules and requirements of
any existing association or improvement district affecting the Property.

       M. "Normal Business Hours": 7:00 A.M. to 6:00 P.M. on Business Days and 8:00 A.M.
to 3:00 P.M. on Saturdays, exclusive of Holidays, unless otherwise amended by written notice
from Tenant to Landlord, in Tenant's reasonable discretion.

        N. "Permitted Use": Freestanding emergency room clinic, and related ancillary office
use.

        0. "Tenant's Trade Name": PhysiciansER.

        P. "Percentage Rent Rate": Not applicable.

        Q. "Gross Sales Breakpoint": Not applicable.

        R. "Tenant's Broker": The Retail Connection c/o Mitch Traub.

        S. "Notice Addresses":




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Tenant: On or after the Commencement Date, notices shall be sent to Tenant at the Premises.
Prior to the Commencement Date, notices shall be sent to Tenant at the following address:

                                            With a copy to:

c/o The Larkin Group                         Blue Rhodes, PLLC
6750 W. Loop S., Suite 950                   812 San Antonio Street, Suite 310
Bellaire, Texas 77401                        Austin, Texas 78701
Attn: Greg McGaw                             Attn: Michael Blue
Phone#: (713) 838-0800                       Phone#: (512) 501-6378
                                             Fax#: (512) 501-6378
Landlord:                    With a copy to:              And to:

Asset Management             Berlin Interests, Inc.       Jackson Walker L.L.P.
Associates, LLC              3906 Lemmon Avenue,          901 Main Street
745 Fort Street,             Suite 100                    Suite 6000
Suite 1410                   Dallas, Texas 75219          Dallas, Texas 75202
Honolulu, Hawaii 96813       Attn: Ronald P. Berlin       Attn: Judge A Platt
Attn: Herbert Lee, Jr.       Phone#: (214) 526-6564       Phone#: (214) 953-5639
Phone#: (808) 536-6137       Fax#: (214) 692-6655         Fax#: (214) 661-6639
Fax#: (808) 536-6143

       Rent (defined in Section 4.A) is payable to the order of Asset Management Associates,
LLC at the following address: 745 Fort Street, Suite 1410, Honolulu, Hawaii 96813.

2.      Lease Grant. Landlord leases the Premises to Tenant and Tenant leases the Premises
from Landlord, together with the right in common with others to use any portions of the Property
(defined below) that are designated by Landlord for the common use of tenants and others, such
as sidewalks, common corridors, vending areas, lobby areas and, with respect to multi-tenant
floors, restrooms and elevator foyers (the "Common Areas"). "Property" means the Building
and the parcel(s) of land on which it is located as more fully described on Exhibit A-2, together
with all other buildings and improvements located thereon; all appurtenances including all
appurtenant parking facilities; and other improvements serving the Building, if any, and the
parcel(s) of land on which they are located. The Square Footage of the Building and/or the
Square Footage of the Premises shall be subject to measurement from time to time by Landlord's
architect at Landlord's option and at Landlord's sole cost and expense.

3.      Term; Adjustment of Commencement Date; Early Access.

        A. Term. This Lease shall govern the relationship between Landlord and Tenant with
respect to the Premises from the Effective Date through the last day of the Term specified in
Section 1.F (the "Expiration Date"), unless terminated early in accordance with this Lease. The
Term of this Lease shall commence on the Commencement Date. If Landlord is delayed in
delivering possession of the Premises or any other space due to any reason, including the
holdover or unlawful possession of such space by any third party, or for any other reason, such
delay shall not be a default by Landlord, render this Lease void or voidable, or otherwise render
Landlord liable for damages. Promptly after the Commencement Date, Landlord shall prepare
and deliver to Tenant a commencement letter agreement substantially in the form attached as
Exhibit C. If such commencement letter is not executed by Tenant within 15 days after delivery
of same by Landlord, then Tenant shall be deemed to have agreed with the matters set forth

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therein. Notwithstanding any other provision of this Lease to the contrary, if the Expiration Date
would otherwise occur on a date other than the last day of a calendar month, then the Term shall
be automatically extended to include the last day of such calendar month, which shall become
the Expiration Date.

       B. Acceptance of Premises. The Premises are accepted by Tenant in "as is" condition
and configuration. TENANT HEREBY AGREES THAT THE PREMISES ARE IN GOOD ORDER AND
SATISFACTORY CONDITION AND THAT, EXCEPT AS OTHERWISE EXPRESSLY SET FORTH IN THIS
LEASE, THERE ARE NO REPRESENTATIONS OR WARRANTIES OF ANY KIND, EXPRESS OR
IMPLIED, BY LANDLORD REGARDING THE PREMISES, THE BUILDING OR THE PROPERTY.

        C. Early Access. Landlord hereby grants early access to the Premises as of the
Effective Date for the purpose of performing improvements or installing furniture, equipment or
other personal property. During such time that Tenant is accessing the Premises for the purpose
of performing improvements or installing furniture, equipment or other personal property,
Tenant shall not be required to pay Base Rent or additional Rent for the Premises for any days of
such early access; provided however, Tenant shall pay for the cost of any other Building services
requested by Tenant. Landlord hereby consents to Tenant's occupancy of the Premises for the
purposes of conducting business therefrom prior to the Commencement Date and Tenant shall
not be required to pay Base Rent or additional Rent for any days of such early occupancy;
provided however, Tenant shall pay for all utility services costs associated with such early
occupancy which shall be due and payable by Tenant on or before 30 days after billing by
Landlord. Early access to or early occupancy of the Premises shall be subject to the terms and
conditions of the Lease.

4. Rent.

            A. Payments. As consideration for this Lease, commencing on the Commencement




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    of any rights such party may have under this Lease or applicable Law. Tenant's covenant to
    pay Rent is independent of every other covenant in this Lease.

            B. Additional Rent. In addition to all other sums due under this Lease, Tenant shall
    pay Tenant's Pro Rata Share of the CAM Costs, Tax Expenses and Insurance Expenses
    (collectively, the "Additional Rent") for each calendar year during the Term. On or about
    January 1 of each calendar year, Landlord shall provide Tenant with a good faith estimate of
    the Additional Rent for such calendar year during the Term. On or before the first day of
    each month, Tenant shall pay to Landlord a monthly installment equal to one-twelfth of
    Landlord's estimate of the Additional Rent. If Landlord determines that its good faith
    estimate of the Additional Rent was incorrect, Landlord may provide Tenant with a revised
    estimate. After its receipt of the revised estimate, Tenant's monthly payments shall be based
    upon the revised estimate. If Landlord does not provide Tenant with an estimate of the
    Additional Rent by January 1 of a calendar year, Tenant shall continue to pay monthly
    installments based on the most recent estimate(s) until Landlord provides Tenant with the
    new estimate. Upon delivery of the new estimate, an adjustment shall be made for any
    month for which Tenant paid monthly installments based on the same year's prior incorrect
    estimate(s). Tenant shall pay Landlord the amount of any underpayment within 30 days
    after receipt of notice of the amount of underpayment. Any overpayment shall be credited
    against the next sums due and owing by Tenant or, if no further Rent is due, refunded
    directly to Tenant within 30 days of determination. The obligation of Tenant to pay for
    Additional Rent as provided herein shall survive the expiration or earlier termination of this
    Lease.

           C. Reconciliation of Additional Rent. Within 120 days after the end of each
    calendar year or as soon thereafter as is practicable, Landlord shall furnish Tenant with a
    statement of the actual Additional Rent for such calendar year. If the most recent estimated
    Additional Rent paid by Tenant for such calendar year is more than the actual Additional
    Rent for such calendar year, Landlord shall apply any overpayment by Tenant against Rent
    due or next becoming due; provided, if the Term expires before the determination of the
    overpayment, Landlord shall, within 30 days of determination, refund any overpayment to
    Tenant after first deducting the amount of Rent due. If the most recent estimated Additional
    Rent paid by Tenant for the prior calendar year is less than the actual Additional Rent for
    such year, Tenant shall pay Landlord, within 30 days after its receipt of notice of the amount
    of underpayment, any underpayment for the prior calendar year.

            D. Audit Rights. Within 60 days after Landlord furnishes its statement of actual
    CAM Costs for any calendar year (the "Audit Election Period"), Tenant may, at its expense,
    elect to audit Landlord's CAM Costs for such calendar year only, subject to the following
    conditions: (1) there is no uncured event of default under this Lease; (2) the audit shall be
    prepared by an independent certified public accounting firm of recognized national standing;
    (3) in no event shall any audit be performed by a firm retained on a "contingency fee" basis;
    (4) the audit shall commence within 60 days after Landlord makes Landlord's books and
    records available to Tenant's auditor and shall conclude within 60 days after
    commencement; (5) the audit shall be conducted during Landlord's normal business hours at
    the location where Landlord maintains its books and records and shall not unreasonably

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     interfere with the conduct of Landlord's business; (6) Tenant and its accounting firm shall
     treat any audit in a confidential manner and shall each execute Landlord's confidentiality
     agreement for Landlord's benefit prior to commencing the audit; and (7) the accounting
     firm's audit report shall, at no charge to Landlord, be submitted in draft form for Landlord's
     review and comment before the final approved audit report is delivered to Landlord, and any
     reasonable comments by Landlord shall be incorporated into the final audit report. This
     paragraph shall not be construed to limit, suspend, or abate Tenant's obligation to pay Rent
     when due, including estimated CAM Costs. Landlord shall credit any overpayment
     determined by the final approved audit report against the next Rent due and owing by Tenant
     or, if no further Rent is due, refund such overpayment directly to Tenant within 30 days of
     determination. Likewise, Tenant shall pay Landlord any underpayment determined by the
     final approved audit report within 30 days of determination. The foregoing obligations shall
     survive the expiration or termination of this Lease. If Tenant does not give written notice of
     its election to audit Landlord's CAM Costs during the Audit Election Period, Landlord's
     CAM Costs for the applicable calendar year shall be deemed approved for all purposes, and
     Tenant shall have no further right to review or contest the same.

             E. Common Area Maintenance Costs. Tenant shall pay Tenant's Pro Rata Share
     of all costs and expenses incurred or accrued in each calendar year in connection with the
     ownership, operation, maintenance, management, repair and protection of the Property,
     including Landlord's personal property used in connection with the Property (collectively,
     "CAM Costs"). CAM Costs include all commercially reasonable (to the extent such costs
     are within Landlord's control) costs and expenditures relating to the following:

                         1. Operation, maintenance, repair and replacements of any part of the
Common Areas, including (to the extent applicable) any landscape sprinkler systems; materials
and supplies; equipment and tools; painting; seasonal holiday decorations; upkeep and seasonal
replacement of landscaping; maintenance, repair and replacement of sidewalks and parking areas;
interior and exterior signage; personal property; required or beneficial easements; related service
agreements and rental expenses; any and all forms of fuel or energy utilized in connection with
the operation, maintenance and use of the Building which are not individually metered and paid
for by the tenants of the Building, sales, use, excise and other taxes assessed by governmental
authorities on energy services supplied to the Building and other costs of providing energy
services to the Building; and energy management consulting services.

                        2. Administrative costs and management fees, including accounting,
information and professional services (except for negotiations and disputes with specific tenants
not affecting other parties); and wages, salaries and taxes (or allocations thereof) for full and part
time personnel involved in operation, maintenance and management.

                        3. Compliance with Laws, including license, permit and inspection fees
(but not in duplication of capital expenditures amortized as provided in Section 4.D(S)); and all
expenses and fees, including reasonable attorneys' fees and court or other venue of dispute
resolution costs, incurred in negotiating or contesting real estate taxes or the validity and/or
applicability of any governmental enactments which may affect CAM Costs; provided Landlord



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shall credit against CAM Costs any refunds received from such negotiations or contests to the
extent originally included in CAM Costs (less Landlord's costs).

                         4. Goods and services purchased from Landlord's subsidiaries and
Affiliates to the extent the cost of same is generally consistent with rates charged by unaffiliated
third parties for similar goods and services.

                        5. Amortization of capital expenditures incurred: (a) to conform with
Laws enacted or amended after the date of this Lease; (b) to provide or maintain building
standards (other than building standard tenant improvements); or (c) with the intention of
promoting safety or reducing or controlling increases in CAM Costs, such as lighting retrofit and
installation of energy management systems. Such expenditures shall be amortized uniformly over
the following periods of time (together with interest on the unamortized balance at the Prime Rate
(as hereinafter defined) as of the date incurred plus 2% ): for building improvements, the shorter
of 10 years or the estimated useful life of the improvement; and for all other items, 5 years for
expenditures under $50,000 and 7 years for expenditures in excess of $50,000. Notwithstanding
the foregoing, Landlord may elect to amortize capital expenditures under this subsection over a
longer period of time based upon (i) the purpose and nature of the expenditure, (ii) the relative
capital burden on the Property, (iii) for cost savings projects, the anticipated payback period, and
(iv) otherwise in accordance with sound real estate accounting principles consistently applied.

            F. Exclusions to CAM Costs. CAM Costs exclude the following expenditures:

                       1. Leasing commissions, attorneys' fees and other expenses related to
leasing tenant space and constructing improvements for the sole benefit of an individual tenant.

                      2. Goods and services furnished to an individual tenant of the Building
which are above building standard and which are separately reimbursable directly to Landlord in
addition to CAM Costs.

                     3. Repairs, replacements and general maintenance paid by insurance
proceeds or condemnation proceeds.

                      4. Except as provided in Section 4.E(S), depreciation, amortization,
interest payments on any encumbrances on the Building and the cost of capital improvements or
additions.

                      5. Expenses for repairs or maintenance related to the Property which
have been reimbursed to Landlord pursuant to warranties or service contracts.

                         6. Principal payments on indebtedness secured by liens against the
Property, or costs of refinancing such indebtedness.

                        7. Tax Expenses.

                        8. Expenses related to promotional funds or merchant association
membership.


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            G. Tax Expenses. Tenant shall pay Tenant's Pro Rata Share of all real estate taxes,
    assessments, excises, association dues, fees, levies, charges and other taxes of every kind and
    nature whatsoever, general and special, extraordinary and ordinary, foreseen and unforeseen,
    including interest on installment payments, which may be levied or assessed against or arise
    in connection with ownership, use, occupancy, rental, leasing, operation or possession of the
    Property, or paid as rent under any ground lease ("Tax Expenses"). Tax Expenses shall
    include, without limitation: (i) any tax on the rent or other revenue from the Property, or any
    portion thereof, or as against the business of owning or leasing the Property, or any portion
    thereof, including any business, franchise, gross margins, or similar tax payable by Landlord
    which is attributable to rent or other revenue derived from the Property, (ii) any assessment,
    tax, fee, levy, or charge allocable to or measured by the area of the Premises or the Rent
    payable hereunder, (iii) personal property taxes for property that is owned by Landlord and
    used in connection with the operation, maintenance and repair of the Property, (iv) any
    assessment, tax, fee, levy or charge, upon this transaction or any document to which Tenant
    is a party, creating or transferring an interest or an estate in the Premises, and (v) any
    assessment, tax, fee, levy or charge substituted, in whole or in part, for a tax previously in
    existence, or assessed in lieu of a tax increase. Tax Expenses shall not include Landlord's
    estate, excise, income taxes (except to the extent provided above) or any fees, interest or
    other expenses assessed to or incurred by Landlord as a penalty.

            H. Insurance Expenses. Tenant shall pay Tenant's Pro Rata Share of all costs
    incurred in connection with property, liability and other insurance coverages carried by
    Landlord in connection with the Building ("Insurance Expenses"), including deductibles
    and risk retention programs and a proportionate allocation of the cost of blanket insurance
    policies maintained by Landlord and/or its Affiliates. The term "Affiliate" means any person
    or entity controlling, controlled by or under common control with Tenant or Landlord, as
    applicable.

            I. Intentionally Omitted.

            J. Abated Rent. The term "Abated Rent" as used herein shall mean the sum of all
    Base Rent for Lease Month 1. Tenant shall be credited with having paid all of the Abated
    Rent on the expiration of the Term only if Tenant has fully and timely performed all of
    Tenant's material obligations under this Lease, including the payment of all Rent (other than
    the Abated Rent). Tenant acknowledges that its right to receive credit for the Abated Rent is
    conditioned upon Tenant's full and timely performance of its material obligations under this
    Lease. Tenant shall only be deemed to have not fully and timely performed all of its material
    obligations under this Lease if Tenant should fail to fully and timely perform any of its
    material obligations under this Lease beyond the expiration of any applicable cure period,
    and as a result thereof a default shall occur. If Tenant fails to fully and timely perform all of
    its material obligations under this Lease, the Abated Rent shall immediately become due and
    payable in full and this Lease shall be enforced as if there were no such Base Rent
    abatement.

5. Tenant's Use of Premises.



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            A. Permitted Use. The Premises shall be used for the Permitted Use and for no
    other uses or purposes. Without in any way expanding the foregoing, Tenant shall not use or
    permit the use of the Premises for any purpose which is illegal, creates obnoxious odors,
    noises or vibrations, is dangerous to persons or property, could increase Landlord's
    insurance costs, or which, in Landlord's reasonable opinion, unreasonably disturbs any other
    tenants of the Building or interferes with the operation or maintenance of the Property.
    Furthermore, Tenant shall not conduct its business on the Premises in a manner or any
    purpose which, in the reasonable opinion of the Landlord, harms or tends to harm the
    business or reputation of the Landlord or Property or reflects unfavorably on the Property, or
    any part of the Property, or deceives or defrauds the public; or conduct or advertise on or
    from or pertaining to the Premises any auction or going out of business sale. Tenant shall
    keep the Premises in a neat, clean and sanitary condition at all times. Landlord and Tenant
    acknowledge that the Building is a "smoke free" facility and that no form of tobacco smoke
    shall be permitted at any time in any portion of the Premises without prior written approval
    of Landlord and Tenant. Tenant shall conduct business in the Premises exclusively under
    the trade name set forth in Section 1 of this Lease unless otherwise agreed in writing by
    Landlord.

            B. Compliance with Laws. Tenant shall comply with all Laws regarding the
    operation of Tenant's business and the use, condition, configuration and occupancy of the
    Premises and the use of the Common Areas. Tenant, within 10 days after receipt, shall
    provide Landlord with copies of any notices Tenant receives regarding a violation or alleged
    or potential violation of any Laws. Tenant shall comply with the rules and regulations of the
    Building attached as Exhibit B and such other reasonable rules and regulations (or
    modifications thereto) adopted by Landlord from time to time; provided that such rules and
    regulations are applied in an equitable manner as reasonably determined by Landlord.
    Tenant shall also use good faith efforts to inform and instruct its agents, contractors,
    subcontractors, employees, customers, and subtenants to comply with all rules and
    regulations.

            C. Tenant's Security Responsibilities. Tenant shall (1) lock the doors to the
    Premises and take other reasonable steps to secure the Premises and the personal property of
    all Tenant Parties (as hereinafter defined) and any of Tenant's transferees, contractors or
    licensees in the Common Areas and parking facilities of the Building and Property, from
    unlawful intrusion, theft, fire and other hazards; (2) keep and maintain in good working
    order all security and safety devices installed in the Premises by or for the benefit of Tenant
    (such as locks, smoke detectors and burglar alarms); and (3) cooperate with Landlord and
    other tenants in the Building on Building safety matters. Tenant acknowledges that any
    security or safety measures employed by Landlord are for the protection of Landlord's own
    interests; that Landlord is not a guarantor of the security or safety of the Tenant Parties or
    their property; and that such security and safety matters are the responsibility of Tenant and
    the local law enforcement authorities.

            D. Tenant's Covenants. Tenant shall (1) at Tenant's expense, cause the Premises to
    be treated for termites, rodents, and other pests and vermin as often as Landlord reasonably
    considers necessary, but, in no event, less frequently than semi-annually, and comply with

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    any reasonable general extermination program that may be established by Landlord; (2) keep
    any display windows or signs in or attached to the Premises well lit during such times as any
    Common Areas abutting the Premises is lit by Landlord or as otherwise required by
    Landlord, and at Tenant's expense, comply with any reasonable window cleaning program
    that may be established by Landlord; (3) not permit odors to emanate from either grease
    traps or a trash handling room or any other area within the Premises, and, upon verbal
    request from the property manager, promptly take steps to abate any odor arising therefrom;
    (4) not advertise any distress, fire, bankruptcy, liquidation, relocation, closing or going out of
    business sale unless such representations are true and Tenant has obtained Landlord's prior
    written consent; (5) not warehouse or stock within the Premises any goods, wares or
    merchandise other than those Tenant intends to use for the Permitted Use; (6) not use or
    permit the use on the Premises of any pinball machines, newspaper racks, or pay telephones,
    and (7) at Tenant's expense, provide regular janitorial services to the Premises.

            E. Continuous Operation. Tenant acknowledges that its continuous occupancy of
    the Premises and the regular uninterrupted conduct of its business for the Permitted Use
    therein are of utmost importance to Landlord in the renting of space in the Building, the
    renewal of other leases therein, and in the character and quality of the other tenants in the
    Building. Tenant therefore agrees to conduct its business for the Permitted Use in the entire
    Premises and to be open to the general public on the Commencement Date of this Lease and
    to continuously be open to the general public and operate its business during all Normal
    Business Hours during the term of this Lease, subject only to temporary closures of
    reasonable duration necessitated by force majeure. The foregoing shall not be deemed to
    preclude Tenant from operating at other times (i.e., in addition to the Normal Business
    Hours).

            F. Decorating and Signs. Tenant shall erect and maintain such signs, awnings and
    canopies as required and previously approved by Landlord in writing. Tenant shall insure
    and maintain any sign, awning or canopy in good condition, repair and operating order at all
    times. If Tenant's sign is damaged or inoperative, Tenant shall commence to repair such
    sign within 10 days after receipt of written notice from Landlord. Landlord, at Landlord's
    option, may repair such sign at Tenant's expense upon the failure of Tenant to commence
    such repairs timely. Tenant shall not place or maintain any decoration, lettering, or
    advertising matter, on the glass of any window or door of the Premises without Landlord's
    prior written consent. All signs, decorations, displays or advertising of Tenant visible from
    the exterior of the Premises shall be permitted only to the extent approved by Landlord in
    writing.

            G. Waste and Refuse Collection. Tenant shall be responsible for arranging and
    paying for services for collection and disposal of waste, including, without limitation, and
    rental or purchase prices paid for dumpsters, which dumpster shall be located in the area on
    or near the existing loading dock as designated by Landlord and agreed upon by Tenant for
    such purpose (the "Refuse Area"). Tenant shall be allowed to locate up to two (2) 2-yard
    garbage receptacles in the Refuse Area.




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            H. Parking. Tenant's customers, agents and invitees shall be entitled to park their




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    subcontractors, employees, customers, and subtenants to comply with all rules and
    regulations.

            J. Tenant's Security Responsibilities. Tenant shall (1) lock the doors to the
    Premises and take other reasonable steps to secure the Premises and the personal property of
    all Tenant Parties (defined in Article 12) and any of Tenant's transferees, contractors or
    licensees in the Common Areas and parking facilities of the Building and Property, from
    unlawful intrusion, theft, fire and other hazards; (2) keep and maintain in good working
    order all security and safety devices installed in the Premises by or for the benefit of Tenant
    (such as locks, smoke detectors and burglar alarms); and (3) cooperate with Landlord and
    other tenants in the Building on Building safety matters. Tenant acknowledges that any
    security or safety measures employed by Landlord are for the protection of Landlord's own
    interests; that Landlord is not a guarantor of the security or safety of the Tenant Parties or
    their property; and that such security and safety matters are the responsibility of Tenant and
    the local law enforcement authorities.

6. Security Deposit. The Security Deposit shall be delivered to Landlord upon the execution of
this Lease by Tenant and shall be held by Landlord (without liability for interest, except to the
extent required by Law) as security for the performance of Tenant's obligations under this Lease.
The Security Deposit is not an advance payment of Rent or a measure of Tenant's liability for
damages. Landlord may, from time to time while an event of default remains uncured, without
prejudice to any other remedy, use all or a portion of the Security Deposit to satisfy past due
Rent, cure any uncured default by Tenant, or repay Landlord for damages and charges for which
Tenant is legally liable under this Lease or resulting from Tenant's breach of this Lease. If
Landlord uses the Security Deposit, Tenant shall upon 10 days written notice restore the Security
Deposit to its original amount and such use by Landlord of the Security Deposit shall not
constitute a cure of the existing event of default until such time as the entire amount owing to
Landlord is paid in full and the Security Deposit is fully restored. Provided that Tenant has
performed all of its obligations hereunder, Landlord shall return any unapplied portion of the
Security Deposit to Tenant within 30 days after the later to occur of: (A) the date Tenant
surrenders possession of the Premises to Landlord in accordance with this Lease; or (B) the
Expiration Date. Tenant does hereby authorize Landlord to withhold from the Security Deposit
all amounts allowed by Law and the amount reasonably anticipated by Landlord to be owed by
Tenant as a result of an underpayment of Tenant's Pro Rata Share of any Additional Rent or
other charges for the final year of the Term. To the fullest extent permitted by applicable Law,
Tenant agrees that the provisions of this Article 6 shall supersede and replace all statutory rights
of Tenant under applicable Law regarding the retention, application or return of security
deposits. If Landlord transfers its interest in the Premises, Landlord shall assign the Security
Deposit to the transferee and, following the assignment and the delivery to Tenant of an
acknowledgement of the transferee's responsibility for the Security Deposit if required by Law,
Landlord shall have no further liability for the return of the Security Deposit. Landlord shall not
be required to keep the Security Deposit separate from its other accounts.

7. Services.




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            A. Obtaining Service. The term "Utilities" means all of the following services and
    all taxes and other charges thereon: (1) electricity, gas, steam, and other power, water and
    sewer; (2) television cable, Internet, telephone and other picture, voice and data transmission
    and reception; (3) fire protection sprinklers; (4) burglar, fire, smoke and other alarms; (5)
    garbage and trash removal; and (6) heat, ventilating and air conditioning. Tenant shall (i)
    apply in Tenant's own name and obtain all Utilities required for Tenant's business, (ii)
    comply with all Utility company regulations, including requirements for the installation of
    meters, (iii) pay all deposits, connection, tap and meter fees, and all monthly and other
    charges for obtaining and using Utilities, (iv) install and connect all equipment and lines
    required to supply the Utilities to the extent not already available at or serving the Premises
    or, at Landlord's option, repair, alter or replace existing equipment and lines, and (v) not
    install or use any equipment or fixtures in the Premises which would exceed the design
    capacity of any Utility equipment or lines serving the Premises. Landlord may furnish one
    or more Utilities to Tenant, and in such event Tenant shall purchase such Utility or Utilities
    from Landlord, and shall pay as additional Rent the reasonable rates established for such
    services by Landlord. Notwithstanding anything foregoing to the contrary, Landlord shall
    be responsible for the cost of separately metering any Utilities to the Premises if deemed
    necessary or desirable by Landlord.

            B. Service Interruptions. No failure or interruption of any Utility (a "Service
    Failure"), whether or not the service was provided by Landlord, shall render Landlord liable
    to Tenant, constitute an event of default by Landlord under this Lease, constitute a
    constructive eviction of Tenant, give rise to an abatement of Rent, or relieve Tenant from the
    obligation to fulfill any covenant or agreement. In no event shall Landlord be liable to
    Tenant for any loss or damage, including the theft of Tenant's Property (as hereinafter
    defined), arising out of or in connection with any Service Failure or the failure of any
    Building safety services, personnel or equipment. Tenant waives all Claims against the
    Landlord Parties arising from Service Failures. Notwithstanding the foregoing, commencing
    on the 6th consecutive Business Day of a Service Failure which is beyond the control of
    Landlord (unless the Service Failure is caused by a fire or other casualty, in which event
    Section 16 controls), Tenant shall, as its sole remedy, be entitled to an equitable diminution
    of Base Rent based upon the pro rata portion of the Premises which is rendered unfit for
    occupancy for the Permitted Use, except to the extent such Service Failure is caused by a
    Tenant Party.

            C. Third Party Services. If Tenant desires any service which Landlord has not
    specifically agreed to provide in this Lease, such as private security systems or
    telecommunications services serving the Premises, Tenant shall procure such service directly
    from a reputable third party service provider ("Provider") for Tenant's own account. Tenant
    shall use good faith efforts to instruct and inform each Provider to comply with the
    Building's rules and regulations, all Laws, and Landlord's reasonable policies and practices
    for the Building. Tenant acknowledges Landlord's current policy that requires all Providers
    utilizing any area of the Property outside the Premises to be approved by Landlord and to
    enter into a written agreement acceptable to Landlord prior to gaining access to, or making
    any installations in or through, such area. Accordingly, Tenant shall give Landlord written
    notice sufficient for such purposes, but in no event less than 14 days' prior written notice.

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8. Intentionally Omitted.

9. Repairs and Alterations.

            A. Tenant's Repair Obligations. Tenant shall keep the Premises in good condition
    and repair, ordinary wear and tear excepted. Tenant's repair obligations include, without
    limitation, repairs to: (1) floor covering and/or raised flooring; (2) interior partitions; (3)
    doors; (4) the interior side of demising walls; (5) electronic, phone, data and other cabling
    and related equipment (collectively, "Cable") that is installed by or for the benefit of Tenant
    whether located in the Premises or in other portions of the Building; (6) all Utility lines and
    related facilities serving the Premises, including air conditioning units, kitchens, including
    hot water heaters, plumbing, dishwashers, ice machines and similar facilities; (7) all
    leasehold improvements in the Premises; (8) plate glass (including regularly scheduled
    interior and exterior window washing); (9) all of Tenant's furnishings, Trade Fixtures (as
    defined below), equipment and inventory; and (10) all of Tenant's storefront, signs, awnings
    and canopies. Tenant shall also keep all Common Areas immediately adjoining the Premises
    free from trash, litter and obstructions. Prior to performing any such repair obligation,
    Tenant shall give written notice to Landlord describing the necessary maintenance or repair.
    Within 5 Business Days after receipt of such notice, Landlord may elect either to perform
    any of the maintenance or repair obligations specified in such notice, or require that Tenant
    perform such obligations by using contractors approved by Landlord. All work shall be
    performed at Tenant's expense in accordance with the rules and procedures described in
    Section 9.C below. If Tenant fails to make any repairs to the Premises for more than 15
    days after notice from Landlord (although notice shall not be required if there is an
    emergency), Landlord may, in addition to any other remedy available to Landlord, make the
    repairs, and Tenant shall pay to Landlord the reasonable cost of the repairs within 30 days
    after receipt of an invoice, together with an administrative charge in an amount equal to 10%
    of the cost of the repairs. As used herein, "Trade Fixtures" means any and all signs placed
    or installed by Tenant within or upon the Premises pursuant to the provisions of this Lease
    and any and all items of property used by Tenant in the Premises (whether or not affixed to
    the Premises by (a) screws, bolts, glue, tape, or other fastener of any kind or character, or
    (b) specially designed, built-in, or incorporated into any other item of property), including
    but not limited to furniture, equipment, and appliances provided, however, that Trade
    Fixtures shall not include any permanent leasehold improvements, including but not limited
    to any floor, wall or ceiling coverings, any interior wall or partitions, any lighting fixtures,
    track lights or any property constitutes a component part, any electrical, plumbing, or
    mechanical system, notwithstanding that the same may have been installed within the
    Premises.

            B. Landlord's Repair Obligations. Landlord shall keep and maintain in good
    repair and working order and make repairs to and perform maintenance upon: (1) Common
    Areas; and (2) the roof, foundation, load bearing components, and exterior surface of the
    Building (excluding doors, plate glass and display and other windows). If any of the
    foregoing maintenance or repair is necessitated due to the acts or omissions of any Tenant
    Party (as hereinafter defined), Tenant shall pay the costs of such repairs or maintenance to
    Landlord within 30 days after receipt of an itemized invoice, together with an administrative


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    charge in an amount equal to 10% of the cost of the repairs. Landlord shall ensure that all
    HV AC and plumbing systems serving the Premises are in good working order on the
    Effective Date.

            C. Alterations.

                ( 1) When Consent Is Required. Tenant shall not make alterations, additions or
    improvements to the Premises or install any Cable in the Premises or other portions of the
    Building (collectively, "Alterations") without first obtaining the written consent of Landlord
    in each instance, which may not be unreasonably withheld or delayed. However, Landlord's
    consent shall not be required for any Alteration that satisfies all of the following criteria (a
    "Minor Alteration"): (a) is of a cosmetic nature such as painting, wallpapering, hanging
    pictures and installing carpeting; (b) is not visible from outside the Premises or Building; (c)
    will not affect the systems or structure of the Building; and (d) does not require work to be
    performed inside the walls or above the ceiling of the Premises.

                 (2)Requirements For All Alterations. Including Minor Alterations. Prior to
    starting work on any Alteration (other than Minor Alterations), Tenant shall furnish to
    Landlord for review and approval, which approval may not be unreasonably withheld or
    delayed: plans and specifications; names of proposed contractors (provided that Landlord
    may designate specific contractors with respect to Building systems); copies of contracts;
    necessary permits and approvals; evidence of contractors' and subcontractors' insurance; and
    Tenant's security for performance of the Alteration. Changes to the plans and specifications
    must also be submitted to Landlord for its approval, which may not be unreasonably
    withheld or delayed. Some of the foregoing requirements may be waived by Landlord for
    the performance of specific Alterations; provided that such waiver is obtained in writing
    prior to the commencement of such Alterations. Landlord's waiver on one occasion shall not
    waive Landlord's right to enforce such requirements on any other occasion. Alterations shall
    be constructed in a good and workmanlike manner using materials of a quality that is at least
    equal to the quality designated by Landlord as the minimum standard for the Building.
    Landlord may designate reasonable rules, regulations and procedures for the performance of
    Alterations in the Building and, to the extent reasonably necessary to avoid disruption to the
    occupants of the Building, shall have the right to designate the time when Alterations may be
    performed. Tenant shall reimburse Landlord within 30 days after receipt of an invoice for
    reasonable out-of-pocket sums paid by Landlord for third party examination of Tenant's
    plans for Alterations. In addition, within 30 days after receipt of an invoice from Landlord,
    Tenant shall pay to Landlord a fee equal to 10% of the total cost of such Alterations, for
    Landlord's oversight and coordination of any Alterations. No later than 30 days after
    completion of the Alterations, Tenant shall furnish "as-built" plans (which shall not be
    required for Minor Alterations), completion affidavits, full and final waivers of liens, receipts
    and bills covering all labor and materials. Tenant shall assure that the Alterations comply
    with all insurance requirements and Laws.

                (3)Landlord's Liability For Alterations. Landlord's approval of an Alteration
    shall not be a representation by Landlord that the Alteration complies with applicable Laws
    or will be adequate for Tenant's use. Tenant acknowledges that Landlord is not an architect


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    or engineer, and that the Alterations will be designed and/or constructed using independent
    architects, engineers and contractors. Accordingly, Landlord does not guarantee or warrant
    that the applicable construction documents will comply with Laws or be free from errors or
    omissions, or that the Alterations will be free from defects, and Landlord will have no
    liability therefor.

10. Entry by Landlord. Landlord, its agents, contractors and representatives may enter the
Premises to inspect or show the Premises, to clean and make repairs, alterations or additions to
the Premises, and to conduct or facilitate repairs, alterations or additions to any portion of the
Building, including other tenants' premises. Except in emergencies or to provide any Building
services after Tenant's operating hours, Landlord shall provide Tenant with reasonable prior
notice of entry into the Premises, which may be given orally. Landlord shall have the right to
temporarily close all or a portion of the Premises to perform repairs, alterations and additions, if
reasonably necessary for the protection and safety of Tenant and its employees. Except in
emergencies, Landlord will not close the Premises if the work can reasonably be completed after
Tenant's operating hours; provided, however, that Landlord is not required to conduct work after
Tenant's operating hours if such work can be conducted without closing the Premises. Entry by
Landlord for any such purposes shall not constitute a constructive eviction or entitle Tenant to an
abatement or reduction of Rent.




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11. Assignment and Subletting.

             A. Landlord's Consent Required.   Subject to the remaining provisions of this




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    of Tenant from any of its obligations or liabilities under this Lease. Tenant shall pay
    Landlord's actual reasonable costs and expenses (including reasonable attorney's fees) for
    Landlord's review of any proposed Transfer, but in no case shall such fee exceed $2,500.00.

            C. Payment to Landlord. If the aggregate consideration paid to a Tenant Party for
    a Transfer exceeds that payable by Tenant under this Lease (prorated according to the
    transferred interest), Tenant shall pay Landlord 50% of such excess (after deducting
    therefrom reasonable leasing commissions and reasonable costs of tenant improvements paid
    to unaffiliated third parties in connection with the Transfer, with proof of same provided to
    Landlord). Tenant shall pay Landlord for Landlord's share of any excess within 30 days
    after Tenant's receipt of such excess consideration. If any uncured event of default exists
    under this Lease (or a condition exists which, with the passage of time or giving of notice,
    would become an event of default), Landlord may require that all sublease payments be
    made directly to Landlord, in which case Tenant shall receive a credit against Rent in the
    amount of any payments received, but not to exceed the amount payable by Tenant under
    this Lease.

            D. Change in Control of Tenant. If Tenant is a corporation, limited liability
    company, partnership, or similar entity, and if the entity which owns or controls a majority
    of the voting shares/rights in Tenant at any time sells or disposes of such majority of voting
    shares/rights, or changes its identity for any reason (including a merger, consolidation or
    reorganization), such change of ownership or control shall constitute a Transfer. The
    foregoing shall not apply so long as, both before and after the Transfer, Tenant is an entity
    whose outstanding stock is listed on a recognized U.S. securities exchange, or if at least 80%
    of its voting stock is owned by another entity, the voting stock of which is so listed;
    provided, however, that Tenant shall give Landlord written notice at least 30 days prior to
    the effective date of such change in ownership or control.

12. Liens. Tenant shall take commercially reasonable measures to ensure that no mechanic's or
other liens are placed upon the Property, Premises or Tenant's leasehold interest in connection
with any work or service done or purportedly done by or for the benefit of Tenant. If a lien is so
placed, Tenant shall, within 10 days of written notice from Landlord of the filing of the lien,
fully discharge the lien by settling the claim which resulted in the lien or by bonding or insuring
over the lien in the manner prescribed by the applicable lien Law. If Tenant fails to discharge
the lien or commence and diligently pursue actions to dispute the lien , then, in addition to any
other right or remedy of Landlord, Landlord may bond or insure over the lien or otherwise
discharge the lien. Tenant shall, within 30 days after receipt of an invoice from Landlord,
reimburse Landlord for any amount paid by Landlord, including reasonable attorneys' fees, to
bond or insure over the lien or discharge the lien.

13. Indemnity. Subject to Article 15 Tenant shall hold Landlord, its trustees, Affiliates,
subsidiaries, members, principals, beneficiaries, partners, officers, directors, shareholders,
employees, Mortgagee(s) (defined in Article 25) and agents (including the manager of the
Property) (collectively, "Landlord Parties") harmless from, and indemnify and defend such
parties against, all liabilities, obligations, damages, penalties, claims, actions, costs, charges and
expenses, including reasonable attorneys' fees and other professional fees that may be imposed


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upon, incurred by or asserted against any of such indemnified parties (each a "Claim" and
collectively "Claims") that arise out of or in connection with any damage or injury occurring in
the Premises to the extent, and only to the extent, that the same is not the result of any breach or
nonperformance of this Lease by Landlord or from any grossly negligent act or omission or
intentional misconduct of Landlord's agents, employees, family or licensees. Provided Landlord
Parties are properly named as additional insureds in the policies required to be carried under this
Lease, and except as otherwise expressly provided in this Lease, the indemnity set forth in the
preceding sentence shall be limited to the greater of (A) $3,000,000, and (B) the aggregate
amount of general/umbrella liability insurance actually carried by Tenant. Subject to Articles
9.B, 15 and 20, Landlord shall hold Tenant, its trustees, members, principals, beneficiaries,
partners, officers, directors, shareholders, employees and agents (collectively, "Tenant Parties"
and individually, a "Tenant Party") harmless from, and indemnify and defend such parties
against, all Claims that arise out of or in connection with any damage or injury occurring in or on
the Property (excluding the Premises, unless the same is the result of any breach of this Lease by
Landlord or from any grossly negligent act or omission or intentional misconduct of Landlord
Parties), to the same extent the Tenant Parties would have been covered had they been named as
additional insureds on the commercial general liability insurance policy required to be carried by
Landlord under this Lease. The indemnity set forth in the preceding sentence shall be limited to
the amount of $3,000,000.

14. Insurance.

             A. Tenant's Insurance. Tenant shall maintain the following insurance ("Tenant's
    Insurance"), at its sole cost and expense: (1) commercial general liability insurance
    applicable to the Premises and its appurtenances providing, on an occurrence basis, a per
    occurrence limit of no less than $1,000,000; (2) causes of loss-special form (formerly "all
    risk") property insurance, including flood and earthquake, covering all above building
    standard leasehold improvements and Tenant's trade fixtures, equipment, furniture and other
    personal property within the Premises ("Tenant's Property") in the amount of the full
    replacement cost thereof as reasonably estimated by Tenant; (3) business income (formerly
    "business interruption") insurance written on an actual loss sustained form or with sufficient
    limits to address reasonably anticipated business interruption losses; (4) business automobile
    liability insurance to cover all owned, hired and non-owned automobiles owned or operated
    by Tenant providing a minimum combined single limit of $1,000,000; (5) workers'
    compensation insurance as required by the state in which the Premises is located and in
    amounts as may be required by applicable statute; (6) employer's liability insurance in an
    amount of at least $500,000 per occurrence; and (7) umbrella liability insurance that follows
    form in excess of the limits specified in (1), (4) and (6) above, of no less than $3,000,000 per
    occurrence and in the aggregate. Any company underwriting any of Tenant's Insurance shall
    have, according to A.M. Best Insurance Guide, a Best's rating of not less than A- and a
    Financial Size Category of not less than VIII. All commercial general liability, business
    automobile liability and umbrella liability insurance policies shall name Landlord (or any
    successor), Landlord's property manager, Landlord's Mortgagee (if any), and their
    respective members, principals, beneficiaries, partners, officers, directors, employees, and
    agents, and other designees of Landlord as the interest of such designees shall appear, as
    "additional insureds" and shall be primary with Landlord's policy being secondary and

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    noncontributory. If any aggregate limit is reduced because of losses paid to below 75% of
    the limit required by this Lease, Tenant will notify Landlord in writing within 10 days of the
    date of notice of such reduction. All policies of Tenant's Insurance shall contain
    endorsements that the insurer(s) shall give Landlord and its designees at least 30 days'
    advance written notice of any change, cancellation, termination or lapse of insurance.
    Tenant shall provide Landlord with a certificate of insurance and all required endorsements
    evidencing Tenant's Insurance prior to the earlier to occur of the Commencement Date or the
    date Tenant is provided access to the Premises for any reason, and upon renewals at least 10
    days prior to the expiration of the insurance coverage. All of Tenant's Insurance policies,
    endorsements and certificates will be on forms and with deductibles and self-insured
    retention, if any, reasonably acceptable to Landlord. The limits of Tenant's insurance shall
    not limit Tenant's liability under this Lease.

             B. Landlord's Insurance. Landlord shall maintain: (1) commercial general
    liability insurance applicable to the Property which provides, on an occurrence basis, a
    minimum combined single limit of no less than $5,000,000 (coverage in excess of
    $1,000,000 may be provided by way of an umbrella/excess liability policy); and (2) causes
    of loss-special form (formerly "all risk") property insurance on the Building in the amount of
    the replacement cost thereof, as reasonably estimated by Landlord. The foregoing insurance
    and any other insurance carried by Landlord may be effected by a policy or policies of
    blanket insurance and shall be for the sole benefit of Landlord and under Landlord's sole
    control. Consequently, Tenant shall have no right or claim to any proceeds thereof or any
    other rights thereunder.

15. Mutual Waiver of Subrogation. Notwithstanding anything in this Lease to the contrary,
Tenant waives, and shall cause its insurance carrier(s) and any other party claiming through or
under such carrier(s), by way of subrogation or otherwise, to waive any and all rights of
recovery, Claim, action or causes of action against all Landlord Parties for any loss or damage to
Tenant's business, any loss of use of the Premises, and any loss, theft or damage to Tenant's
Property (including Tenant's automobiles or the contents thereof), including all rights (by way of
subrogation or otherwise) of recovery, Claims, actions or causes of action arising out of the
negligence of any Landlord Party, which loss or damage is (or would have been, had the
insurance required by this Lease been maintained) covered by insurance. In addition, Landlord
shall cause its insurance carrier(s) and any other party claiming through or under such carrier(s),
by way of subrogation or otherwise, to waive any and all rights of recovery, Claim, action or
causes of action against all Tenant Parties for any loss of or damage to or loss of use of the
Building, any additions or improvements to the Building, or any contents thereof, including all
rights (by way of subrogation or otherwise) of recovery, Claims, actions or causes of action
arising out of the negligence of any Tenant Party, which loss or damage is (or would have
been, had the insurance required by this Lease been maintained) covered by insurance.

16. Casualty Damage.

          A. Repair or Termination by Landlord. If all or any part of the Premises are
    damaged by fire or other casualty, Tenant shall immediately notify Landlord in writing.
    Landlord shall have the right to terminate this Lease if: (1) the Building shall be damaged so


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    that, in Landlord's judgment, substantial alteration or reconstruction of the Building shall be
    required (whether or not the Premises have been damaged); (2) Landlord is not permitted by
    Law to rebuild the Building in substantially the same form as existed before the fire or
    casualty; (3) the Premises have been materially damaged and there is less than 2 years of the
    Term remaining on the date of the casualty; (4) any Mortgagee requires that the insurance
    proceeds be applied to the payment of the mortgage debt; or (5) an uninsured loss of the
    Building occurs notwithstanding Landlord's compliance with Section 14.B above. Landlord
    may exercise its right to terminate this Lease by notifying Tenant in writing within 90 days
    after the date of the casualty. If Landlord does not terminate this Lease under this Section
    16.A, Landlord shall commence and proceed with reasonable diligence to repair and restore
    the Building and/or the Premises to substantially the same condition as existed immediately
    prior to the date of damage; provided, however, that Landlord shall only be required to
    reconstruct building standard leasehold improvements existing in the Premises as of the date
    of damage, and Tenant shall be required to pay the cost for restoring any other leasehold
    improvements. However, in no event shall Landlord be required to spend more than the
    insurance proceeds received by Landlord.

             B. Timing for Repair; Termination by Either Party. If all or any portion of the
    Premises is damaged as a result of fire or other casualty, Landlord shall, with reasonable
    promptness, cause an architect or general contractor selected by Landlord to provide
    Landlord and Tenant with a written estimate of the amount of time required to substantially
    complete the repair and restoration of the Premises, using standard working methods
    ("Completion Estimate"). If the Completion Estimate indicates that the Premises cannot be
    made tenantable within 180 days from the date of damage, then regardless of anything in
    Section 16.A above to the contrary, either party shall have the right to terminate this Lease
    by giving written notice to the other of such election within 10 days after receipt of the
    Completion Estimate. Tenant, however, shall not have the right to terminate this Lease if the
    fire or casualty was caused by the negligence or intentional misconduct of any of the Tenant
    Parties. If neither party terminates this Lease under this Section 16.B, then Landlord shall
    repair and restore the Premises in accordance with, and subject to the limitations of, Section
    16.A.

            C. Abatement. In the event a material portion of the Premises is damaged such that
    Tenant cannot reasonably use the Premises for the Permitted Use as a result of a fire or other
    casualty, the Base Rent shall abate until substantial completion of the repairs and restoration
    required to be made by Landlord pursuant to Section 16.A. Tenant, however, shall not be
    entitled to such abatement if the fire or other casualty was caused by the negligence or
    intentional misconduct of any of the Tenant Parties. Landlord shall not be liable for any loss
    or damage to Tenant's Property or to the business of Tenant resulting in any way from the
    fire or other casualty or from the repair and restoration of the damage. Landlord and Tenant
    hereby waive the provisions of any Law relating to the matters addressed in this Article, and
    agree that their respective rights for damage to or destruction of the Premises shall be those
    specifically provided in this Lease.

17. Condemnation. Either party may terminate this Lease if the whole or any material part of
the Premises or Common Area are taken or condemned for any public or quasi-public use under

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Law, by eminent domain or private purchase in lieu thereof (a "Taking"). Landlord shall also
have the right to terminate this Lease if there is a Taking of any portion of the Building or
Property which would leave the remainder of the Building unsuitable for use in a manner
comparable to the Building's use immediately prior to the Taking. In order to exercise its right
to terminate this Lease under this Article 17, Landlord or Tenant, as the case may be, must
provide written notice of termination to the other within 30 days after the terminating party first
receives notice of the Taking. Any such termination shall be effective as of the date the physical
taking of the Premises or the portion of the Building or Property occurs. If this Lease is not
terminated, the Square Footage of the Building, the Square Footage of the Premises and Tenant's
Pro Rata Share shall, if applicable, be appropriately adjusted by Landlord. In addition, Base
Rent for any portion of the Premises taken or condemned shall be abated during the unexpired
Term effective when the physical taking of the portion of the Premises occurs. All compensation
awarded for a Taking, or sale proceeds, shall be the property of Landlord, any right to receive
compensation or proceeds being expressly waived by Tenant. However, Tenant may file a
separate claim at its sole cost and expense for Tenant's Property (excluding above building
standard leasehold improvements) and Tenant's reasonable relocation expenses, provided the
filing of such claim does not diminish the award which would otherwise be receivable by
Landlord.

18. Events of Default. Tenant shall be considered to be in default under this Lease upon the
occurrence of any of the following events of default:

           A. Tenant's failure to pay when due all or any portion of the Rent and such failure
    continues uncured for a period of 7 days following written notice thereof ("Monetary
    Default"); provided, however, that Tenant shall only be entitled to receive such notice two
    (2) times within any twelve (12) month period, and any subsequent failure to pay Rent
    during such twelve (12) month period shall not require any such notice from Landlord.

            B. Tenant's failure to perform any of the obligations of Tenant in the manner set
    forth in Section 5.E. or Articles 14 (and such failure continues uncured for a period of 3
    days following Landlord's delivery of written notice thereof), 24 or 25 (a "Time Sensitive
    Default").

           C. Tenant's failure (other than a Monetary Default or a Time Sensitive Default) to
    comply with any term, provision or covenant of this Lease, if the failure is not cured within
    10 days after written notice to Tenant. However, if Tenant's failure to comply cannot
    reasonably be cured within 10 days, Tenant shall be allowed additional time as is reasonably
    necessary to cure the failure so long as: (1) Tenant commences to cure the failure within the
    10 day period following Landlord's initial written notice, and (2) Tenant diligently pursues a
    course of action that will cure the failure and bring Tenant back into compliance with this
    Lease. However, if Tenant's failure to comply creates a hazardous condition, the failure
    must be cured immediately upon notice to Tenant. In addition, if Landlord provides Tenant
    with notice of Tenant's failure to comply with the same specific term, provision or covenant
    of this Lease on more than two (2) occasions during any 12 month period, Tenant's
    subsequent violation of the same term, provision or covenant shall, at Landlord's option, be
    deemed an incurable event of default by Tenant.


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            D. Tenant or any Guarantor files a petition for protection under the U.S. Bankruptcy
    Code (or similar Law) or a petition is filed against Tenant or any Guarantor under such Laws
    and is not dismissed within 45 days after the date of such filing, makes a transfer in fraud of
    creditors or makes an assignment for the benefit of creditors, or admits in writing its inability
    to pay its debts when due.

            E. The leasehold estate is taken by process or operation of Law.

           F. Tenant does not take possession of, or abandons or vacates all or a substantial
    portion of the Premises.

          G. Tenant is in default beyond any notice and cure period under any other lease or
    agreement with Landlord, including any lease or agreement for parking.

19. Remedies.

           A. Landlord's Remedies. Upon any default, Landlord shall have the right without
    notice or demand (except as provided in Article 18) to pursue any of its rights and remedies
    at Law or in equity, including any one or more of the following remedies:

                ( 1) Terminate this Lease;

                (2) Re-enter the Premises, change locks, alter security devices and lock out
Tenant or terminate Tenant's right of possession of the Premises without terminating this Lease,
and without complying with applicable Law, the benefits of which are waived by Tenant to the
fullest extent permitted by applicable Law;

               (3) Remove and store, at Tenant's expense, all the property in the Premises using
such lawful force as may be necessary;

               (4) Cure such event of default for Tenant at Tenant's expense (plus a 10%
administrative fee);

               (5) Withhold or suspend payment of sums Landlord would otherwise be obligated
to pay to Tenant under this Lease or any other agreement;

               (6) Require all future payments to be made by cashier's check, money order or
wire transfer after the first time any check is returned for insufficient funds, or the second time
any sum due hereunder is more than five (5) days late;

                (7) Apply any Security Deposit as permitted under this Lease; and/or

               (8) Recover such other amounts in addition to or in lieu of the foregoing as may
be permitted from time to time by applicable Law, including any other amount necessary to
compensate Landlord for all the detriment proximately caused by Tenant's failure to perform its
obligations under this Lease or which in the ordinary course of events would be likely to result
therefrom.


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            B. Measure of Damages.

               (1) Calculation. If Landlord either terminates this Lease or terminates Tenant's
right to possession of the Premises, Tenant shall immediately surrender and vacate the Premises
and pay Landlord on demand: (a) all Rent accrued through the end of the month in which the
termination becomes effective; (b) interest on all unpaid Rent from the date due at a rate equal to
the lesser of 18% per annum or the highest interest rate permitted by applicable Law; (c) all
expenses reasonably incurred by Landlord in enforcing its rights and remedies under this Lease,
including all reasonable legal expenses; (d) Costs of Reletting (defined below); and (e) all
Landlord's Rental Damages (defined below). In the event that Landlord relets the Premises for
an amount greater than the Rent due during the Term, Tenant shall not receive a credit for any
such excess.

                (2) Definitions. "Costs of Reletting" shall include commercially reasonable costs,




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    liabilities under this Lease, nor be entitled to any damages hereunder, based upon minor or
    immaterial errors in the exercise of Landlord's remedies. No right or remedy of Landlord
    shall be exclusive of any other right or remedy. Each right and remedy shall be cumulative
    and in addition to any other right and remedy now or subsequently available to Landlord at
    Law or in equity. If Tenant fails to pay any amount when due hereunder (after the expiration
    of any applicable cure period), Landlord shall be entitled to receive interest on any unpaid
    item of Rent from the date initially due (without regard to any applicable grace period) at a
    rate equal to the lesser of 18% per annum or the highest rate permitted by Law. In addition,
    if Tenant fails to pay any item or installment of Rent when due (after the expiration of any
    applicable cure period), Tenant shall pay Landlord an administrative fee equal to $750.00.
    However, in no event shall the charges permitted under this Section 19.C or elsewhere in
    this Lease, to the extent they are considered interest under applicable Law, exceed the
    maximum lawful rate of interest. If any payment by Tenant of an amount deemed to be
    interest results in Tenant having paid any interest in excess of that permitted by Law, then it
    is the express intent of Landlord and Tenant that all such excess amounts theretofore
    collected by Landlord be credited against the other amounts owing by Tenant under this
    Lease. Receipt by Landlord of Tenant's keys to the Premises shall not constitute an
    acceptance or surrender of the Premises. Notwithstanding any other provision of this
    Lease to the contrary, Tenant shall hold Landlord Parties harmless from and
    indemnify and defend such parties against, all Claims that arise out of or in connection
    with Tenant's breach of this Lease, specifically including any violation of applicable
    Laws or Contamination (defined in Article 30) caused by a Tenant Party.

             D. Mitigation of Damages. Upon termination of Tenant's right to possess the
    Premises, Landlord shall, only to the extent required by Law, use objectively reasonable
    efforts to mitigate damages by reletting the Premises. Landlord shall not be deemed to have
    failed to do so if Landlord refuses to lease the Premises to a prospective new tenant with
    respect to whom Landlord would be entitled to withhold its consent pursuant to Section
    11.A, or who (1) is an Affiliate, parent or subsidiary of Tenant; (2) is not acceptable to any
    Mortgagee of Landlord; (3) requires improvements to the Premises to be made at Landlord's
    expense; or (4) is unwilling to accept lease terms then proposed by Landlord, including: (a)
    leasing for a shorter or longer term than remains under this Lease; (b) re-configuring or
    combining the Premises with other space, (c) taking all or only a part of the Premises; and/or
    (d) changing the use of the Premises. Notwithstanding Landlord's duty to mitigate its
    damages as provided herein, Landlord shall not be obligated (i) to give any priority to
    reletting Tenant's space in connection with its leasing of space in the Building or any
    complex of which the Building is a part, or (ii) to accept below market rental rates for the
    Premises or any rate that would negatively impact the market rates for the Building. To the
    extent that Landlord is required by applicable Law to mitigate damages, Tenant must plead
    and prove by clear and convincing evidence that Landlord failed to so mitigate in accordance
    with the provisions of this Section 19.D, and that such failure resulted in an avoidable and
    quantifiable detriment to Tenant.

           E. Waiver of Landlord's Lien. Landlord hereby waives and disclaims all statutory
    and contractual lien rights in Tenant's personal property located within the Premises or the


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    Building (but not any fixtures within the Premises or Building that have become a part of the
    real property).

20. Limitation of Liability. Notwithstanding anything to the contrary contained in this Lease,
the liability of Landlord (and of any successor Landlord) to Tenant (or any person or entity
claiming by, through or under Tenant) shall be limited to the interest of Landlord in the Property.
Tenant shall look solely to Landlord's interest in the Property for the recovery of any judgment
or award against Landlord. No Landlord Party shall be personally liable for any judgment or
deficiency. Before filing suit for an alleged default by Landlord, Tenant shall give Landlord and
the Mortgagee(s) (defined in Article 25) whom Tenant has been notified hold Mortgages
(defined in Article 25) on the Property, Building or Premises, notice and reasonable time to cure
the alleged default. Tenant hereby waives all claims against all Landlord Parties for
consequential, special or punitive damages allegedly suffered by any Tenant Parties, including
lost profits and business interruption.

21. No Waiver. Neither party's failure to declare a default immediately upon its occurrence or
delay in taking action for a default shall constitute a waiver of the default, nor shall it constitute
an estoppel. Neither party's failure to enforce its rights for a default shall constitute a waiver of
that party's rights regarding any subsequent default.

22. Tenant's Right to Possession. Provided Tenant pays the Rent and fully performs all of its
other covenants and agreements under this Lease, Tenant shall have the right to occupy the
Premises without hindrance from Landlord or any person lawfully claiming through Landlord,
subject to the terms of this Lease, all Mortgages, insurance requirements and applicable Law.
This covenant and all other covenants of Landlord shall be binding upon Landlord and its
successors only during its or their respective periods of ownership of the Building, and shall not
be a personal covenant of any Landlord Parties.

23. Intentionally Deleted.

24. Holding Over. Except for any permitted occupancy by Tenant under Article 29, if Tenant
or any party claiming by, through or under Tenant fails to surrender the Premises at the
expiration or earlier termination of this Lease, the continued occupancy of the Premises shall be
that of a tenancy at sufferance. Tenant shall pay an amount (on a per month basis without
reduction for partial months during the holdover) equal to 150% of the sum of the Base Rent and
Additional Rent due for the period immediately preceding the holdover; provided, however, such
amount shall not be less than the then-current fair market gross rental for the Premises. Tenant
shall otherwise continue to be subject to all of Tenant's obligations under this Lease. No
holdover by Tenant or payment by Tenant after the expiration or early termination of this Lease
shall be construed to extend the Term or prevent Landlord from immediate recovery of
possession of the Premises by summary proceedings or otherwise. In addition to the payment of
the amounts provided above, if Landlord is unable to deliver possession of the Premises to a new
tenant, or to perform improvements for a new tenant as a result of Tenant's holdover, and Tenant
fails to vacate the Premises within 15 days after Landlord notifies Tenant of Landlord's inability
to deliver possession, or perform improvements, such failure shall constitute a Time Sensitive
Default hereunder; and notwithstanding any other provision of this Lease to the contrary,
TENANT SHALL BE LIABLE TO LANDLORD FOR, AND SHALL PROTECT LANDLORD FROM AND

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INDEMNIFY AND DEFEND LANDLORD AGAINST, ALL LOSSES AND DAMAGES, INCLUDING ANY
CLAIMS MADE BY ANY SUCCEEDING TENANT RESULTING FROM SUCH FAILURE TO VACATE, AND
ANY CONSEQUENTIAL DAMAGES THAT LANDLORD SUFFERS FROM THE HOLDOVER.

25. Subordination to Mortgages; Estoppel Certificate. Tenant accepts this Lease subject and
subordinate to any mortgage(s), deed(s) of trust, ground lease(s) or other lien(s) now or
subsequently affecting the Premises, the Building or the Property, and to renewals,
modifications, refinancings and extensions thereof (collectively, a "Mortgage"). The party
having the benefit of a Mortgage shall be referred to as a "Mortgagee." This clause shall be self-
operative, but upon request from a Mortgagee, Tenant shall execute a commercially reasonable
subordination agreement in favor of the Mortgagee. In lieu of having the Mortgage be superior
to this Lease, a Mortgagee shall have the right at any time to subordinate its Mortgage to this
Lease. If requested by a successor-in-interest to all or a part of Landlord's interest in this Lease,
Tenant shall, without charge, attorn to the successor-in-interest. Tenant shall, within 5 Business
Days after receipt of a written request from Landlord, execute and deliver an estoppel certificate
to those parties as are reasonably requested by Landlord (including a Mortgagee or prospective
purchaser). The estoppel certificate shall include a statement certifying that this Lease is
unmodified (except as identified in the estoppel certificate) and in full force and effect,
describing the dates to which Rent and other charges have been paid, representing that, to the
best of Tenant's knowledge, there is no default (or stating with specificity the nature of the
alleged default) and certifying other matters with respect to this Lease that may reasonably be
requested. Tenant's failure to provide any estoppel certificate within the 5 Business Day period
specified above, and the continuation of such failure for a period of 5 Business Days after
Landlord delivers a second written notice requesting same, shall constitute a Time Sensitive
Default under this Lease. In no event shall Tenant be required to execute and deliver estoppel
certificates more than three (3) times in any twelve (12) month period. Landlord shall use
reasonable efforts, at Tenant's costs, to obtain Landlord's Mortgagee's then-current form of
nondisturbance agreement for the benefit of Tenant.

26. Attorneys' Fees. If either party institutes a suit against the other party for violation of or to
enforce any covenant or condition of this Lease, or if either party intervenes in any suit in which
the other party is a party to enforce or protect its interest or rights, the prevailing party shall be
entitled to all of its costs and expenses, including reasonable attorneys' fees. The term
''prevailing party" is defined to mean the party who obtains a final unappealable determination
of wrongful conduct by the other party regardless of whether actual damages are awarded.

27. Notice. If a demand, request, approval, consent or notice (collectively, a "notice") shall or
may be given to either party by the other, the notice shall be in writing and delivered by hand or
sent by registered or certified mail with return receipt requested, or sent by overnight or same
day courier service, at the party's respective Notice Address(es) set forth in Article 1, except that
if Tenant has vacated the Premises (or if the Notice Address for Tenant is other than the
Premises, and Tenant has vacated such address) without providing Landlord a new Notice
Address, Landlord may serve notice in any manner described in this Article or in any other
manner permitted by Law. Each notice shall be deemed to have been received or given on the
earlier to occur of actual delivery or the date on which delivery is first refused, or, if Tenant has
vacated the Premises or the other Notice Address of Tenant without providing a new Notice

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Address, three (3) days after notice is deposited in the U.S. mail or with a courier service in the
manner described above. Either party may, at any time, change its Notice Address by giving the
other party written notice of the new address in the manner described in this Article.

28. Reserved Rights. This Lease does not grant any rights to light or air over or about the
Building. Landlord excepts and reserves exclusively to itself the use of: (A) roofs, (B)
telephone, electrical and janitorial closets, (C) equipment rooms, Building risers or similar areas
that are used by Landlord for the provision of Building services, (D) rights to the land and
improvements below the floor of the Premises, (E) the improvements and air rights above the
Premises, (F) the improvements and air rights outside the demising walls of the Premises, (G) the
areas within the Premises used for the installation of utility lines and other installations serving
occupants of the Building, and (H) any other areas designated from time to time by Landlord as
service areas of the Building. Except as to the equipment identified on Schedule A attached
hereto, the installation of which Landlord hereby approves, Tenant shall not have the right to
install or operate any equipment producing radio frequencies, electrical or electromagnetic
output or other signals, noise or emissions in or from the Building without the prior written
consent of Landlord, which consent shall not be unreasonably withheld or delayed. To the extent
permitted by applicable Law, Landlord reserves the right to restrict and control the use of such
equipment. Landlord has the right to change the Building's name. Landlord also has the right to
make such other changes to the Property and Building as Landlord deems appropriate, provided
the changes do not materially affect Tenant's ability to use the Premises for the Permitted Use.
Landlord shall also have the right (but not the obligation) to temporarily close the Building if
Landlord reasonably determines that there is an imminent danger of significant damage to the
Building or of personal injury to Landlord's employees or the occupants of the Building. The
circumstances under which Landlord may temporarily close the Building shall include, without
limitation, electrical interruptions, hurricanes and civil disturbances. A closure of the Building
under such circumstances shall not constitute a constructive eviction nor entitle Tenant to an
abatement or reduction of Rent.

29. Surrender of Premises. All improvements to the Premises (collectively, "Leasehold
Improvements") shall be owned by Landlord and shall remain upon the Premises without
compensation to Tenant. At the expiration or earlier termination of this Lease or Tenant's right
of possession, Tenant shall remove Tenant's Removable Property (defined below) from the
Premises, and quit and surrender the Premises to Landlord, broom clean, and in good order,
condition and repair, ordinary wear and tear excepted. As used herein, the term "Tenant's
Removable Property" shall mean: (A) Cable installed by or for the benefit of Tenant and located
in the Premises or other portions of the Building; (B) any Leasehold Improvements that are
installed by or for the benefit of Tenant and, in Landlord's reasonable judgment, are of a nature
that would require removal and repair costs that are materially in excess of the removal and
repair costs associated with typical Building improvements ("Special Installations"); and (C)
Tenant's personal property. Notwithstanding the foregoing, Landlord may, in Landlord's sole
discretion and at no cost to Landlord, require Tenant to leave any of its Special Installations in
the Premises. If Tenant fails to remove any of Tenant's Removable Property (other than Special
Installations which Landlord has designated to remain in the Premises) within 2 days after the
termination of this Lease or of Tenant's right to possession, Landlord, at Tenant's sole cost and
expense, shall be entitled (but not obligated) to remove and store Tenant's Removable Property.

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Landlord shall not be responsible for the value, preservation or safekeeping of Tenant's
Removable Property. Tenant shall pay Landlord, upon demand, the expenses and storage
charges incurred for Tenant's Removable Property. To the fullest extent permitted by applicable
Law, any unused portion of Tenant's Security Deposit may be applied to offset Landlord's costs
set forth in the preceding sentence. In addition, if Tenant fails to remove Tenant's Removable
Property from the Premises or storage, as the case may be, within 30 days after written notice,
Landlord may deem all or any part of Tenant's Removable Property to be abandoned, and title to
Tenant's Removable Property (except with respect to any Hazardous Material [defined in Article
30]) shall be deemed to be immediately vested in Landlord. Except for Special Installations
designated by Landlord to remain in the Premises, Tenant's Removable Property shall be
removed by Tenant before the Expiration Date; provided that upon Landlord's prior written
consent (which must be requested by Tenant at least 30 days in advance of the Expiration Date
and which shall not be unreasonably withheld), Tenant may remain in the Premises for up to 5
days after the Expiration Date for the sole purpose of removing Tenant's Removable Property.
Tenant's possession of the Premises for such purpose shall be subject to all of the terms and
conditions of this Lease, including the obligation to pay Base Rent and Additional Rent on a per
diem basis at the rate in effect for the last month of the Term. In the event this Lease is
terminated prior to the Expiration Date, Tenant's Removable Property (except for Special
Installations designated by Landlord to remain in the Premises) shall be removed by Tenant on
or before such earlier date of termination. Tenant shall repair damage caused by the installation
or removal of Tenant's Removable Property.

30. Hazardous Materials.

            A. Restrictions. No Hazardous Material (defined below), except for (i) Bio-
    Hazardous Medical Wastes (defined below), and (ii) de minimis quantities of household
    cleaning products and office supplies, used in the ordinary course of Tenant's business at the
    Premises and used, kept and disposed of in compliance with all applicable Laws, shall be
    brought upon, used, kept or disposed of in or about the Premises or the Property by any
    Tenant Parties or any of Tenant's transferees, contractors or licensees without Landlord's
    prior written consent, which consent may be withheld in Landlord's sole and absolute
    discretion. Tenant's request for such consent shall include a representation and warranty by
    Tenant that the Hazardous Material in question ( 1) is necessary in the ordinary course of
    Tenant's business, and (2) shall be used, kept and disposed of in compliance with all Laws.

            B. Remediation.        Tenant shall promptly notify Landlord if it suspects
    Contamination in the Premises. Any remediation of Contamination caused by a Tenant
    Party or its contractors or invitees which is required by Law or which is deemed necessary
    by Landlord, in Landlord's reasonable opinion, shall be performed by Landlord and Tenant
    shall reimburse Landlord for the cost thereof, plus a 10% administrative fee.

           C. Definitions. For purposes of this Article 30, a "Hazardous Material" is any
    substance the presence of which requires, or may hereafter require, notification, investigation
    or remediation under any Laws or which is now or hereafter defined, listed or regulated by
    any governmental authority as a "hazardous waste", "extremely hazardous waste", "solid
    waste", "toxic substance", "hazardous substance", "hazardous material" or "regulated


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    substance", or otherwise regulated under any Laws. "Contamination" means the existence
    or any release or disposal of a Hazardous Material or biological or organic contaminant,
    including any such contaminant which could adversely impact air quality, such as mold,
    fungi or other bacterial agents, in, on, under, at or from the Premises, the Building or the
    Property which may result in any liability, fine, use restriction, cost recovery lien,
    remediation requirement, or other government or private party action or imposition affecting
    any Landlord Party. For purposes of this Lease, claims arising from Contamination shall
    include diminution in value, restrictions on use, adverse impact on leasing space, and all
    costs of site investigation, remediation, removal and restoration work, including response
    costs under CERCLA and similar statutes.

              D. Reports, Surveys and Acceptance of Premises. All current surveys or reports
     prepared for the Property regarding the presence of Hazardous Materials (if any) in the
     Building are available for inspection by Tenant in the office of the Property manager. With
     respect to Hazardous Materials, Tenant hereby (1) accepts full responsibility for reviewing
     any such surveys and reports and satisfying itself prior to the execution of this Lease as to
     the acceptability of the Premises under Section 3.B above, and (2) acknowledges and agrees
     that this provision satisfies all notice requirements under applicable Law. In the event
     Tenant performs or causes to be performed any test on or within the Premises for the
     purpose of determining the presence of a Hazardous Material, Tenant shall obtain
     Landlord's prior written consent and use a vendor approved by Landlord for such testing. In
     addition, Tenant shall provide to Landlord a copy of such test within 10 days of Tenant's
     receipt.

31. Miscellaneous.

            A. Governing Law; Jurisdiction and Venue; Severability; Paragraph Headings.
    This Lease and the rights and obligations of the parties shall be interpreted, construed and
    enforced in accordance with the Laws of the state in which the Property is located. All
    obligations under this Lease are performable in the county or other jurisdiction where the
    Property is located, which shall be venue for all legal actions. If any term or provision of
    this Lease shall be invalid or unenforceable, then such term or provision shall be
    automatically reformed to the extent necessary to render such term or provision enforceable,
    without the necessity of execution of any amendment or new document. The remainder of
    this Lease shall not be affected, and each remaining and reformed provision of this Lease
    shall be valid and enforced to the fullest extent permitted by Law. The headings and titles to
    the Articles and Sections of this Lease are for convenience only and shall have no effect on
    the interpretation of any part of this Lease. The words "include", "including" and similar
    words will not be construed restrictively to limit or exclude other items not listed.

          B. Recording. Tenant shall not record this Lease or any memorandum without
    Landlord's prior written consent.

            C. Force Majeure. Whenever a period of time is prescribed for the taking of an
    action by Landlord or Tenant, the period of time for the performance of such action shall be
    extended by the number of days that the performance is actually delayed due to strikes, acts
    of God, shortages of labor or materials, war, terrorist attacks (including bio-chemical

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    attacks), civil disturbances and other causes beyond the reasonable control of the performing
    party ("Force Majeure"). However, events of Force Majeure shall not extend any period of
    time for the payment of Rent or other sums payable by either party or any period of time for
    the written exercise of an option or right by either party.

            D. Transferability; Release of Landlord. Landlord shall have the right to transfer
    and assign, in whole or in part, all of its rights and obligations under this Lease and in the
    Building and/or Property, and upon such transfer where the transferee assumes all of
    Landlord's obligations under this Lease, Landlord shall be released from any further
    obligations hereunder, and Tenant agrees to look solely to the successor in interest of
    Landlord for the performance of such obligations.

           E. Brokers. Tenant represents that it has dealt directly with and only with the
    Tenant's Broker (if any) identified in Article 1 in connection with this Lease. Landlord has
    agreed to pay the fees of the Tenant's Broker (if any) identified in Article 1 to the extent that
    Landlord has agreed to do so pursuant to the terms and provisions of a commission
    agreement executed by and between Landlord and Tenant's Broker on or before the effective
    date hereof, which agreement (if any) is incorporated herein by reference for the specific
    purposes set forth in Section 62.022(b) of the Texas Property Code. TENANT AND
    LANDLORD SHALL EACH INDEMNIFY THE OTHER AGAINST ALL COSTS, EXPENSES,
    ATTORNEYS' FEES, LIENS AND OTHER LIABILITY FOR COMMISSIONS OR OTHER
    COMPENSATION CLAIMED BY ANY BROKER OR AGENT CLAIMING THE SAME BY, THROUGH
    OR UNDER THE INDEMNIFYING PARTY, OTHER THAN TENANT'S BROKER.

            F. Authority; Joint and Several Liability. Landlord covenants, warrants and
    represents that each individual executing, attesting and/or delivering this Lease on behalf of
    Landlord is authorized to do so on behalf of Landlord, this Lease is binding upon and
    enforceable against Landlord, and Landlord is duly organized and legally existing in the state
    of its organization and is qualified to do business in the state in which the Premises are
    located.    Similarly, Tenant covenants, warrants and represents that each individual
    executing, attesting and/or delivering this Lease on behalf of Tenant is authorized to do so on
    behalf of Tenant, this Lease is binding upon and enforceable against Tenant; and Tenant is
    duly organized and legally existing in the state of its organization and is qualified to do
    business in the state in which the Premises are located. If there is more than one Tenant, or
    if Tenant is comprised of more than one entity, the obligations imposed upon Tenant shall be
    joint and several obligations of all the entities. Notices, payments and agreements given or
    made by, with or to any one person or entity shall be deemed to have been given or made by,
    with and to all of them.

            G. Time is of the Essence; Relationship; Successors and Assigns. Time is of the
    essence with respect to Tenant's performance of its obligations and the exercise of any
    expansion, renewal or extension rights or other options granted to Tenant. This Lease shall
    create only the relationship of landlord and tenant between the parties, and not a partnership,
    joint venture or any other relationship. This Lease and the covenants and conditions in this
    Lease shall inure only to the benefit of and be binding only upon Landlord and Tenant and
    their permitted successors and assigns.


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            H. Survival of Obligations. The expiration of the Term, whether by lapse of time
    or otherwise, shall not relieve either party of any obligations which accrued prior to or which
    may continue to accrue after the expiration or early termination of this Lease. Without
    limiting the scope of the prior sentence, it is agreed that Tenant's obligations under Sections
    4.A, 4.B, and 4.C, and under Articles 6, 8, 12, 13, 19, 24, 29 and 30 shall survive the
    expiration or early termination of this Lease.

            I. Binding Effect. Landlord has delivered a copy of this Lease to Tenant for
    Tenant's review only, and the delivery of it does not constitute an offer to Tenant or an
    option. This Lease shall not be effective against any party hereto until an original copy of
    this Lease has been signed by such party and delivered to the other party.

            J. Full Agreement; Amendments. This Lease contains the parties' entire
    agreement regarding the subject matter hereof. All understandings, discussions, and
    agreements previously made between the parties, written or oral, are superseded by this
    Lease, and neither party is relying upon any warranty, statement or representation not
    contained in this Lease. This Lease may be modified only by a written agreement signed by
    Landlord and Tenant. Such amendment may be transmitted by e-mail, facsimile, or other
    method permitted by the provisions for giving notice in this Lease. Furthermore, Tenant
    does not assent or agree to and will not be bound by any electronic signature or other
    electronic record, and without limiting the foregoing, Landlord and Tenant agree that the
    Electronic Signatures in Global and National Commerce Act, any version of the Uniform
    Electronic Transactions Act, including without limitation Chapter 322 of the Texas Business
    and Commerce Code, and any other laws applicable to contracting electronically do not and
    shall not apply to the execution of this Lease or any amendment hereto. The exhibits and
    riders attached hereto are incorporated herein and made a part of this Lease for all purposes.

           K. Tax Waiver. Tenant waives all rights pursuant to all Laws to contest any taxes
    or other levies or protest appraised values or receive notice of reappraisal regarding the
    Property (including Landlord's personalty), irrespective of whether Landlord contests same.

            L. Method         of Calculation. Tenant is knowledgeable and experienced in
    commercial transactions and does hereby acknowledge and agree that the provisions of this
    Lease for determining charges and amounts payable by Tenant are commercially reasonable
    and valid and constitute satisfactory methods for determining such charges and amounts as
    required by Section 93.012 of the Texas Property Code. TENANT FURTHER VOLUNTARILY
    AND KNOWINGLY WAIVES (TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW) ALL
    RIGHTS AND BENEFITS OF TENANT UNDER SUCH SECTION, AS IT NOW EXISTS OR AS IT MAY
    BE HEREAFTER AMENDED OR SUCCEEDED.

           M. Waiver of Consumer Rights. TENANT HEREBY WAIVES ALL ITS RIGHTS UNDER
    THE TEXAS DECEPTIVE TRADE PRACTICES - CONSUMER PROTECTION ACT, SECTION
    17.41 ET SEQ. OF THE TEXAS Business AND COMMERCE CODE, A LAW THAT GIVES
    CONSUMERS SPECIAL RIGHTS AND PROTECTIONS.      AFTER CONSULTATION WITH AN
    ATTORNEY OF TENANT'S OWN SELECTION, TENANT VOLUNTARILY ADOPTS THIS WAIVER.




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            N. OFAC List Representation. Tenant hereby represents and warrants to Landlord
    that neither Tenant nor any of its respective officers, directors, shareholders, partners,
    members or affiliates is or will be an entity or person: (i) that is listed in the annex to, or is
    otherwise subject to the provisions of, Executive Order 13224 issued on September 24, 2001
    ("EO 13224'); (ii) whose name appears on the United States Treasury Department's Office
    of Foreign Assets Control ("OFAC") most current list of "Specifically Designated National
    and Blocked Persons" (which list may be published from time to time in various mediums
    including, but not limited to, the OFAC website, http:www.treas.gov/ofac/tl lsdn.pdf); (iii)
    who commits, threatens to commit or supports "terrorism," as that term is defined in EO
    13224; or (iv) who is otherwise affiliated with any entity or person listed above.

            0. Facade Signage.

             (1)        During the Tenant's occupancy of the Premises, but only so long as (a)
Tenant occupies at least 8,350 square feet of Square Footage in the Building and (b) no event of
default has occurred under the Lease beyond any applicable cure period, Tenant shall have the
right to install and maintain, at Tenant's sole expense, exterior signage identifying Tenant's trade
name (the "Fa<;ade Signage") on the exterior fa<;ade of the Building in primary placement on the
Building's existing fa<;ade sign, to the extent such exists. The signage rights granted herein are
personal to the specific party originally identified as the "Tenant" under the Lease and may not
be transferred, shared or assigned in whole or in part to any assignee, subtenant or other tenant in
the Building without Landlord prior written consent, which may be withheld in Landlord's sole
discretion.

            (2)        The location, size, material, construction and design (including the usage
of Tenant's logo) of the Fa<;ade Signage shall be subject to (a) the prior written approval of
Landlord, which may not be unreasonably withheld or delayed, and (b) compliance with
applicable Laws. Tenant shall not make any subsequent alterations in or additions to the Fa<;ade
Signage without in each instance first complying with the foregoing requirements. Tenant
acknowledges that Landlord has made no representation that any Fa<;ade Signage proposed by
Tenant will comply with applicable Law. In no event shall Tenant use a name on the Fa<;ade
Signage that is in contravention of any prior signage rights.

             (3)        Tenant, at its expense, shall obtain all necessary governmental permits and
certificates required for the installation and use of the Fa<;ade Signage, as well as any approvals
necessary under applicable Laws. All construction, installation, alterations and repair and
maintenance work shall be performed in a good and workmanlike manner in compliance with the
Building's rules and regulations and shall not interfere with, delay or otherwise impose any
additional expenses upon Landlord in the maintenance and operation of the Building or upon the
use and enjoyment by other tenants of their respective premises in the Building. Tenant shall
maintain the Fa<;ade Signage and keep it in good working order repair and shall timely pay or
cause to be paid all costs for work done by Tenant or caused to be done by Tenant related to the
Fa<;ade Signage, in accordance with the provisions of Section 9.C of this Lease.

            (4)       Upon the Expiration Date or earlier termination of Tenant's right to
possess the Premises, or if Tenant otherwise fails at any time to comply with the requirements of
this Section, Tenant shall, at its sole expense, promptly remove all such Fa<;ade Signage which

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shall become the property of Tenant, and repair any damage caused by the Fa<;ade Signage or its
removal. However, if the Fa<;ade Signage is not removed from the Property within ten (10)
Business Days after Landlord's notice, then the Fa<;ade Signage shall conclusively be deemed to
have been abandoned by Tenant and may be removed, appropriated, sold, stored, destroyed or
otherwise disposed of by Landlord without further notice to Tenant or any other person and
without obligation to account therefor. Tenant shall pay Landlord all expenses incurred in
connection with any such removal, appropriation, sale, storage, destruction and disposition of the
Fa<;ade Signage and the repair of any damage caused by the Fa<;ade Signage or its removal.

            (5)       Notwithstanding anything to the contrary contained in this Section, or in
any approvals or other communications, Landlord reserves the right, in its sole discretion and at
its expense, to change any existing signage or modify its signage guidelines for the Property at
any time and from time to time.

         P. Bio-Hazardous Medical Waste. At Tenant's sole liability, risk, cost and expense,
Tenant shall provide proper receptacles and containers for all Bio-Hazardous Medical Waste
(hereinafter defined) and shall make such arrangements as shall be necessary, proper and/or
required by applicable Law for the disposal of Tenant's Bio-Hazardous Medical Waste in strict
compliance with all applicable Laws. Tenant's arrangements for the disposal of Tenant's Bio-
Hazardous Medical Waste are subject to the prior written approval of Landlord, which may not
be unreasonably withheld or delayed. Landlord assumes no duty, obligation or liability with
respect to Tenant's Bio-Hazardous Medical Waste and Tenant agrees to indemnify Landlord
from all liability arising out of the existence of Bio-Hazardous Medical Waste in or about the
Premises and the creation, storage, transportation, and/or disposal thereof. For the purposes of
the Lease, the term "Bio-Hazardous Medical Waste" means any waste, substance or material
(solid, liquid or gaseous), which is generated, produced or results from the diagnosis, treatment
or immunization of human beings, or any research pertaining thereto, or the production or testing
of biological agents. The term "Bio-Hazardous Medical Waste" also includes any definition
thereof or referenced thereto in any law, rule, regulation, order, or decree of any federal, state, or
local government, including, without limitation, any substance defined or referred to 29 CFR
Part 2910.1030.

        Q. Exclusive Use. Subject to the remaining terms of this Section, Landlord will not
enter into a lease, license or other occupancy agreement with any third party for space in the
Building for the purpose of operating a freestanding emergency room clinic or urgent care clinic
(the "Prohibited Operations"). This Section shall not apply to any existing leases or occupancy
agreements in the Building. Further, this Section shall not prohibit any Building tenant or other
occupant from using its premises for purposes of providing medical care or related services,
provided such tenant or occupant is not operating its premises for the Prohibited Operations.
Notwithstanding anything to the contrary set forth above, Tenant's rights and Landlord's
obligations under this Section shall expire and be of no further force or effect following the
earliest to occur of (i) a default by Tenant under this Lease beyond the expiration of any
applicable grace or cure period, (ii) the expiration or earlier termination of this Lease or of
Tenant's right to possess the Premises, or (iii) Tenant ceases using the Premises for the Permitted
Use or the Permitted Use is hereafter changed upon mutual agreement of Landlord and Tenant.
The rights set forth in this Section are personal to the original tenant executing this Lease and

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shall not inure to the benefit of any transferee of the Lease or of the Premises, notwithstanding
anything to the contrary set forth elsewhere in this Lease.

        R. Building Use Restriction. For so long as Tenant continues to occupy at least 8,350
square feet in the Building, Landlord hereby agrees to limit the use of the Building, other than
the Premises, to "Professional, personal service, and custom craft" office use only, as such use is
defined in Section 51P-193.106(j) of Article 193 of the Dallas Development Code ("PD 193"),
or such other use requiring equal or greater parking that may be permitted by the City of Dallas
without affecting the parking rights of Tenant pursuant to Tenant's certificate of occupancy (the
"Building Use Restriction"); provided, however, that the Building Use Restriction is expressly
contingent upon binding written confirmation from the City of Dallas that, collectively with
Tenant's Permitted Use for the Premises, if use of the remainder of the Building outside the
Premises is limited by the Building Use Restriction, the Building has adequate parking without
obligation to secure additional parking pursuant to PD 193. Upon receipt of binding written
confirmation from the City of Dallas that the Building has adequate parking as set forth above,
Landlord will promptly provide its reasonable approval on any application, checklist or other
document required by the City of Dallas or other governmental authority with jurisdiction over
the Building for purposes of evidencing the Building Use Restriction as necessary for Tenant to
obtain its Certificate of Occupancy for the Premises from the City of Dallas. If Landlord
unreasonably delays in providing its signature or approval pursuant to this paragraph for more
than five (5) business days and such delay results in Tenant's failure to obtain its Certificate of
Occupancy, then the Commencement Date shall automatically be extended day for day for each
day of such unreasonable delay. If Tenant is unable to obtain a building permit from the City of
Dallas on or before twenty (20) days after the Effective Date, despite its commercially
reasonable efforts to do so, Tenant shall have the option to terminate this Lease by giving written
notice thereof to Landlord on or before the date that is thirty (30) days after the Effective Date.

                              [Remainder of page intentionally left blank]




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                                    EXHIBIT A-1

                         OUTLINE AND LOCATION OF PREMISES




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                                                          EXHIBIT A-2

                                    LEGAL DESCRIPTION OF PROPERTY




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                                           EXHIBITB

                                RULES AND REGULATIONS


In the event of a conflict between the following Rules and Regulations and the terms of the
Lease to which this Exhibit is attached, the terms of the Lease shall control.

       1.       The sidewalk, entries, and driveways of the Property shall not be obstructed by
Tenant, or its agents, or used by them for any purpose other than ingress and egress to and from
the Premises.

       2.      Tenant shall not place any objects, including antennas, outdoor furniture, etc., in
the parking areas, landscaped areas or other areas outside of its Premises, or on the roof of the
Property.

        3.     Except for service animals assisting the handicapped, no animals shall be allowed
in the Premises or elsewhere on the Property.

        4.     Tenant shall not disturb the occupants of the Property or adjoining buildings by
the use of any radio or musical instrument or by the making of loud or improper noises.

       5.       If Tenant desires telegraphic, telephonic or other electric connections in the
Premises, Landlord or its agent will direct the electrician as to where and how the wires may be
introduced; and, without such direction, no boring or cutting of wires will be permitted. Any
such installation or connection shall be made at Tenant's expense.

       6.      Explosives or other articles deemed extra hazardous shall not be brought into the
Property. Notwithstanding the foregoing, Tenant shall be permitted to operate generators and
other medically necessary equipment, subject to the terms of the Lease.

        7.      Parking any type of recreational vehicles is specifically prohibited on or about the
Property. No vehicle of any type shall be stored in the parking areas at any time. In the event
that a vehicle is disabled, it shall be removed within 48 hours. There shall be no "For Sale" or
other advertising signs on or about any parked vehicle. All vehicles shall be parked in the
designated parking areas in conformity with all signs and other markings. All parking will be
open parking, and no reserved parking, numbering or lettering of individual spaces will be
permitted except as specified by Landlord or otherwise set forth in a Tenant's Lease.

       8.      Tenant shall use good faith efforts, including maintenance required by the Lease,
to maintain the Premises free from rodents, insects and other pests.

        9.    Landlord reserves the right to exclude or expel from the Property any person who,
in the judgment of Landlord, is intoxicated or under the influence of liquor or drugs or who shall
in any manner do any act in violation of the Rules and Regulations of the Property.




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        10.    Tenant shall not cause any unnecessary labor by reason of Tenant's carelessness
or indifference in the preservation of good order and cleanliness of the Premises, Building and/or
Property. Except for willful or gross negligent acts of Landlord Parties, Landlord shall not be
responsible to Tenant for any loss of property on the Premises, however occurring, or for any
damage done to the effects of Tenant by the janitors or any other employee or person.

        11.    Tenant shall give Landlord prompt notice of any actually known defects in the
water, lawn sprinkler, sewage, gas pipes, electrical lights and fixtures, heating apparatus, or any
other service equipment affecting the Premises.

        12.    Tenant shall not permit storage outside the Premises or dumping of waste or
refuse, or permit any harmful materials to be placed in any drainage system or sanitary system in
or about the Premises.

       13.     All movable trash receptacles provided by the trash disposal firm for the Premises
must be kept in the trash enclosure areas, if any, provided for that purpose.

        14.     No auction, public or private, will be permitted on the Premises or the Property.

        15.     No awnings shall be placed over the windows in the Premises except with the
prior written consent of Landlord.

       16.     The Premises shall not be used for lodging, sleeping, or for any immoral or illegal
purposes or for any purpose other than that specified in the Lease. No gaming devices shall be
operated in the Premises.

        17.    Tenant shall ascertain from Landlord the maximum amount of electrical current
which can safely be used in the Premises, taking into account the capacity of the electrical wiring
in the Property and the Premises and the needs of other tenants, and shall not use more than such
safe capacity. Landlord's consent to the installation of electric equipment shall not relieve
Tenant from the obligation not to use more electricity than such safe capacity.

        18.    Tenant assumes full responsibility for protecting the Premises from theft, robbery
and pilferage.

       19.     Tenant shall not install or operate on the Premises any machinery or mechanical
devices of a nature not directly related to Tenant's ordinary use of the Premises and shall keep all
such machinery free of vibration, noise and air waves which may be transmitted beyond the
Premises.

       20.      Tenant shall not introduce, disturb or release asbestos or PCBs onto or from the
Premises.

       21.   Tenant shall at all times conduct its operations in a good and workmanlike
manner, employing best management practices to minimize the threat of any violation of
Environmental Requirements.



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      22.    Tenant shall not install any window shades, blinds or interior covering to
windows without first obtaining Landlord's prior written consent.

        23.    Tenant shall not, without the Landlord's prior written consent, place or maintain
any merchandise or other articles in any vestibule, sidewalks, passages, courts, corridors, halls,
elevators and stairways or entry of the Premises or elsewhere on the exterior thereof.

        24.    Tenant shall not use or permit the use of any apparatus, or sound reproduction or
transmission, or any musical instrument in such manner that the sound so reproduced,
transmitted or produced shall be audible beyond the confines of the Premises, and will not use
any other advertising medium, including without limitation flashing lights or search lights, which
may be heard, seen, or otherwise experienced outside of the Premises other than normal canopy
signs as approved by Landlord.

        25.    Tenant shall keep all mechanical apparatus free of vibration and noise which may
be transmitted beyond the confines of the Premises.

       26.    Tenant shall not cause or permit objectionable odors to emanate or be dispelled
from the Premises.

      27.     Tenant shall not solicit business handbills or other advertising matter or hold
demonstrations in the parking areas or other Common Area.

        28.    Tenant shall not permit the parking of delivery vehicles so as to interfere with the
use of any driveway, walk, parking areas, or other Common Areas in the Property.

       29.    Tenant shall refer to the name of the Property in all advertising done within the
geographical area in which the Property is located.

        30.    Tenant shall not use the plumbing facilities for any other purpose than that for
which they are constructed and will not permit any foreign substance of any kind to be thrown
therein, and the expense of repairing any breakage, stoppage, seepage or damage, whether
occurring on or off the Premises, resulting from a violation of this provision by Tenant or
Tenant's employees, agents or invitees shall be borne by Tenant. All grease traps and other
plumbing traps shall be kept clean and operable by Tenant at Tenant's own cost and expense.

       31.    Tenant shall not place or cause or permit to be placed within the Premises, pay
telephones, vending machines or amusement devices of any kind without the prior written
consent of Landlord.




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                                         EXHIBIT C

                                  COMMENCEMENT LETTER


Re:     Lease dated May _ , 2014 (the "Lease") between ASSET MANAGEMENT
        ASSOCIATES, LLC ("Landlord") and ASCENT REALTY, LLC ("Tenant") for the
        Premises, the Square Footage of which is 8,350 square feet. Unless otherwise specified,
        all capitalized terms used herein shall have the same meanings as in the Lease.

Landlord and Tenant agree that:

Landlord has fully completed all work that Landlord is required to perform under the terms of
the Lease, if any.

Tenant has accepted possession of the Premises. The Premises are usable by Tenant as intended;
Landlord has no obligation to perform any work or other construction, and Tenant acknowledges
that both the Building and the Premises are satisfactory in all respects.

The Commencement Date of the Lease is _ _ _ _ _ _ , 2014.

The Expiration Date of the Lease is the last day of _ _ _ _ _ _ _ __

Tenant's Address at the Premises after the Commencement Date is:




                Attention:- - - - - - - - - -
                Phone:- - - - - - - - - - -


All other terms and conditions of the Lease are ratified and acknowledged to be unchanged.

        EXECUTED as of _ _ _ _ _ _ , 2014.


                                                    {ATTACH APPROPRIATE
                                                    SIGNATURES}




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                                           EXHIBITD

                                        WORK LETTER


        1. Construction. Tenant agrees to construct leasehold improvements (the "Tenant
Work") in a good and workmanlike manner in and upon the Premises, at Tenant's sole cost and
expense, subject to Paragraph 2 below, in accordance with the following provisions. Tenant
shall submit to Landlord for Landlord's approval (which approval shall not be unreasonably
withheld, conditioned or delayed) complete plans and specifications for the construction of the
Tenant Work ("Tenant's Plans"). Tenant's Plans shall include Tenant's obligation to (i) remove
the existing internal stair case within the Premises, (ii) replace all resulting necessary structural
support between the first floor and second floor of the Building to the satisfaction of Landlord or
Landlord's engineer, and (iii) replace the ceiling on the first floor and the floor on the second
floor such that the first floor and second floor are each fully demised from each other. Within 15
Business Days after receipt of Tenant's Plans, Landlord shall review and either approve or
disapprove Tenant's Plans; Landlord's failure to timely notify Tenant of Landlord's approval or
disapproval shall be deemed to be approval. If Landlord disapproves Tenant's Plans, or any
portion thereof, Landlord shall notify Tenant thereof within such 15 Business Day period, and of
the revisions Landlord requires before Landlord will approve Tenant's Plans. Within 15
Business Days after Landlord's notice disapproving Tenant's Plans, Tenant shall submit to
Landlord, for Landlord's review and approval (which approval shall not be unreasonably
withheld, conditioned or delayed), plans and specifications incorporating the required revisions.
The final plans and specifications approved by Landlord are hereinafter referred to as the
"Approved Construction Documents". Tenant will employ experienced, licensed contractors,
architects, engineers and other consultants, as set forth on Landlord's then-current approved
contractor list (or as otherwise approved by Landlord), to construct the Tenant Work and will
require in the applicable contracts that such parties (a) carry insurance in such amounts and types
of coverages as are reasonably required by Landlord, and (b) design and construct the Tenant
Work in a good and workmanlike manner and in compliance with all Laws. Unless otherwise
agreed to in writing by Landlord and Tenant, all work involved in the construction and
installation of the Tenant Work shall be carried out by Tenant's contractor under the sole
direction of Tenant, in compliance with all Building rules and regulations and in such a manner
so as not to unreasonably interfere with or disturb the operations, business, use and enjoyment of
the Property by other tenants in the Building or the structural calculations for imposed loads.
Tenant shall obtain from its contractors and provide to Landlord a list of all subcontractors
providing labor or materials in connection with any portion of the Tenant Work prior to
commencement of the Tenant Work. Tenant warrants that the design, construction and
installation of the Tenant Work shall conform to the requirements of all applicable Laws,
including building, plumbing and electrical codes and the requirements of any authority having
jurisdiction over, or with respect to, such Tenant Work.

        2. Costs. Subject to the terms and conditions of this Paragraph 2, Landlord will
provide Tenant with an allowance (the "Reimbursement Allowance") to be applied towards the
cost of constructing the Tenant Work.


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               (A) Landlord's obligation to reimburse Tenant for Tenant's construction of the
Tenant Work shall be: (i) limited to actual costs incurred by Tenant in its construction of the
Tenant Work; (ii) limited to an amount up to, but not exceeding, $30.00 multiplied by the Square
Footage of the Premises; and (iii) conditioned upon Landlord's receipt of written notice (which
notice shall be accompanied by invoices and documentation set forth below) from Tenant that
the Tenant Work has been completed and accepted by Tenant. The cost of (a) all space planning,
design, consulting or review services and construction drawings, (b) materials and labor, (c) any
permits and/or inspections required in connection with, or as a prerequisite to, the construction
and/or completion of the Tenant Work, shall all be included in the cost of the Tenant Work and
may be paid out of the Reimbursement Allowance, to the extent sufficient funds are available for
such purpose. Any reimbursement obligation of Landlord under this Work Letter shall be
applied solely to the purposes specified above, as allocated, within twelve (12) months after the
Effective Date or be forfeited with no further obligation on the part of Landlord.

                (B) Landlord shall pay the Reimbursement Allowance to Tenant within thirty-
one (31) days following Landlord's receipt of (i) third-party invoices for costs incurred by
Tenant in constructing the Tenant Work; (ii) evidence that Tenant has paid the invoices for such
costs; and (iii) lien waivers from any contractor or supplier who has constructed or supplied
materials for the Tenant Work. If the costs incurred by Tenant in constructing the Tenant Work
exceed the Reimbursement Allowance, then Tenant shall pay all such excess costs and Tenant
agrees to keep the Premises and the Property free from any liens arising out of the non-payment
of such costs.

                (C) All installations and improvements now or hereafter placed in the Premises
or elsewhere on the Property other than building standard improvements shall be for Tenant's
account and at Tenant's cost. Tenant shall pay ad valorem taxes and increased insurance thereon
or attributable thereto, which cost shall be payable by Tenant to Landlord as additional Rent
within 30 days after receipt of an invoice therefor. Tenant's failure to pay such cost within 30
days after receipt of such invoice shall constitute an event of default under the Lease.

Prior to commencing construction, Tenant shall provide such documentation to Landlord as
Landlord may reasonably require to evidence that Tenant has sufficient funds available in a
segregated account for the purpose of paying any costs of the Tenant Work in excess of the
Reimbursement Allowance.

        3. Electrical Design Capacity. Any requirements, services or equipment shall not
exceed the existing electrical design capacity of the Building without obtaining the prior written
approval of Landlord, and provided further that Tenant complies with all applicable Laws and
provisions of the Lease. The cost of purchasing and installing any approved additional electrical
equipment in excess of the capacity currently available at the Premises shall be paid at Tenant's
expense.

        4. ADA Compliance. Tenant shall, at its expense, be responsible for ADA
compliance in the Premises, including restrooms on any floor now or hereafter leased or
occupied in its entirety by Tenant, its Affiliates or transferees. Landlord shall not be responsible
for determining whether Tenant is a public accommodation under ADA or whether the Approved
Construction Documents comply with ADA requirements. Such determinations, if desired by

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Tenant, shall be the sole responsibility of Tenant. Landlord's approval of the Approved
Construction Documents shall not be deemed a statement of compliance with applicable Laws,
nor of the accuracy, adequacy, appropriateness, functionality or quality of the improvements to
be made according to the Approved Construction Documents.

       5. Landlord's Oversight and Coordination. Construction of the Tenant Work shall
be subject to oversight and coordination by Landlord or Landlord's construction manager, but
such oversight and coordination shall not subject Landlord to any liability to Tenant, Tenant's
contractors or any other person. Landlord or Landlord's construction manager has the right to
inspect construction of the Tenant Work from time to time. Tenant shall pay Landlord or
Landlord's construction manager a fee equal to 5% of the Reimbursement Allowance
("Landlord's Oversight Fee") in connection with such oversight and coordination, which fee
may be paid out of the Reimbursement Allowance.

        6. Assumption of Risk and Waiver. Tenant hereby assumes any and all risks
involved with respect to the Tenant Work and hereby releases and discharges all Landlord
Parties from any and all liability or loss, damage or injury suffered or incurred by Tenant or third
parties in any way arising out of or in connection with the Tenant Work. Tenant's failure to
complete Tenant's Work prior to the Commencement Date shall not entitle Tenant to postpone
its obligations under the Lease, including the obligation to pay Rent commencing on the
Commencement Date.

        7. Building Work. Tenant acknowledges that Landlord will be conducting additional
work in the Building (the "Building Work") related to demising the first floor of the building
from the second floor (in additional to Tenant's obligations set forth in Paragraph 1 above)
prior to the Commencement Date while Tenant is in possession of the Premises, and agrees that
Landlord, its agents, employees and contractors shall have the right to enter the Premises during
business hours to conduct the Building Work; provided that Landlord shall use commercially
reasonable efforts while in the Premises to not interfere with or delay the Tenant Work. If,
despite commercially reasonable efforts to the contrary, Landlord interferes with or delays the
Tenant Work in connection with the Building Work, then the Commencement Date shall be
extended day for day for each day of delay caused by such interference. Tenant understands that
the Building Work to be performed pursuant to this Paragraph 7 may result in noise, vibration,
dirt, dust, odors, and other circumstances commonly attendant to construction. Tenant hereby
waives any claim of injury, interference or inconvenience to the Tenant Work, or loss of
occupancy or quiet enjoyment of the Premises, or any other loss occasioned by such entry or the
performance of the Building Work pursuant to the terms of this Paragraph 7, and the same shall
not relieve Tenant of any obligations under the Lease. No entry into the Premises by Landlord
under this Work Letter shall be deemed a forcible or unlawful entry into the Premises or a
detainer of the Premises, or an eviction, actual or constructive, of Tenant from the Premises, or
any part of the Premises, nor shall such entry entitle Tenant to damages or an abatement of Rent
or other charges that the Lease requires Tenant to pay. Tenant shall fully cooperate with
Landlord and its contractors and shall not in any way impede, inhibit or hinder any of the
Building Work.




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                                          RIDERNO.1

                                     OPTION TO EXTEND

A.      Renewal Period. Tenant may, at its option, extend the Term for two (2) renewal periods
of five (5) years each (each, a "Renewal Period") by written notice to Landlord (the "Renewal
Notice") given no earlier than twelve (12) nor later than nine (9) months prior to the expiration
of the Term (or the prior Renewal Period, as applicable), provided that at the time of such notice
and at the commencement of such Renewal Period, (i) Tenant remains in occupancy of the
Premises, and (ii) no uncured event of default exists under the Lease. The Base Rent payable
during the first Renewal Period shall be at a rate of $46.00 per Rentable Square Footage of the
Premises. The Base Rent payable during the second Renewal Period shall be at the then-current
rental rates for similar space in similar building types within the same submarket. Except as
provided in this Rider No. 1, all terms and conditions of the Lease shall continue to apply during
the Renewal Period, except that Tenant shall have no further option to extend the Term of the
Lease after Tenant's exercise of its second renewal option.

B.      Acceptance. Within 30 days of the Renewal Notice, Landlord shall notify Tenant of the
Base Rent for such Renewal Period (the "Rental Notice"). Tenant may accept the terms set forth
in the Rental Notice by written notice (the "Acceptance Notice") to Landlord given within 15
days after receipt of the Rental Notice. If Tenant timely delivers its Acceptance Notice, Tenant
shall, within 15 days after receipt from Landlord, execute a lease amendment confirming the
Base Rent and other terms applicable during the Renewal Period. If Tenant fails timely (i) to
deliver its Acceptance Notice or (ii) to execute and return the required lease amendment, then
Tenant's rights under this Rider shall automatically expire and be of no further force or effect.
The rights set forth in this Rider are personal to the original tenant executing the Lease and shall
not inure to the benefit of any transferee of the Lease or of the Premises, notwithstanding
anything to the contrary set forth elsewhere in the Lease.

C.      Redevelopment. Notwithstanding the foregoing or anything to the contrary contained in
this Lease, Landlord may void the second Renewal Period and/or terminate this Lease at any
time after the expiration of the first Renewal Period by delivering written notice to Tenant (the
"Termination Notice") 180 days prior to such termination stating that Landlord intends to
redevelop the Property. Within 180 days of the date of the Termination Notice, Tenant shall
surrender possession of the Premises in accordance with Section 29 of this Lease, after which
neither party shall have any further obligation unto the other except as expressly survives the
termination or expiration of this Lease.




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                                   GUARANTY OF LEASE


1.       Guaranty. To induce ASSET MANAGEMENT ASSOCIATES, LLC, an Alaska limited
liability company ("Landlord"), to enter into a Lease (the "Lease") for space at 3607 Oak Lawn
Avenue, Dallas, Texas 75219, with ASCENT REALTY, LLC, an Arkansas limited liability
company ("Tenant"), each undersigned "Guarantor" executes and delivers this Guaranty of
Lease (the "Guaranty") pursuant to which Guarantor absolutely, unconditionally and irrevocably
guarantees to Landlord (a) payment to Landlord when due of (i) all Base Rent, Tenant's Pro Rata
Share of CAM Costs, Tax Expenses and Insurance Expenses, and other Rent; (ii) all amounts
payable by reason of any indemnity, breach of warranty or event of default by Tenant under the
Lease; and (iii) all costs incurred by Landlord in enforcing its rights and remedies under the
Lease and/or this Guaranty, including reasonable attorneys' fees, court costs and investigation
expenses; and (b) performance of all of Tenant's other obligations under the Lease (collectively,
"Guaranteed Obligations"); provided that each Guarantor's individual liability shall not exceed
Five Hundred Fifty Thousand and No/100 Dollars ($550,000.00) (each Guarantor's "Maximum
Liability"). This is a continuing guaranty of payment and not of collection and Guarantor's
liability is primary and not secondary. Landlord may, at its option, proceed against Guarantor
without first commencing an action or obtaining a judgment against Tenant or any other party.
Unless otherwise expressly provided in this Guaranty, all capitalized terms shall have the same
meanings as in the Lease.

2.      Waivers and Releases.

        a.     Guarantor waives marshaling of assets and liabilities, sale in inverse order of
alienation, presentment, demand for payment, protest, notice of acceptance of this Guaranty,
notice of nonpayment, notice of dishonor, notice of acceleration, notice of intent to accelerate
and all other notices, demands, suits or other actions otherwise required as a condition to
Landlord's exercise of its rights under the Lease or this Guaranty. Guarantor's liability
hereunder shall not be released by Landlord's receipt, application or release of security given for
performance of any such obligations, nor shall Guarantor be released by reason of any lien held
or executed upon Tenant and/or its assets by any Landlord Party.

        b.     This Guaranty shall in no way be affected by (i) any extension of time for
payment or performance of any Guaranteed Obligations; (ii) supplementation or amendment
(material or otherwise) of the Lease, or renewal or extension thereof, or increase in the size of
the Premises (whether within the Building or the Property); (iii) any failure, omission, delay or
lack of diligence by Landlord or any other person or entity, to enforce, assert or exercise any
right or remedy of Landlord under the Lease or this Guaranty; (iv) settlement or compromise of
any Guaranteed Obligation; (v) release or discharge of Tenant in any creditor's receivership,
bankruptcy or other proceedings; (vi) impairment, limitation or modification of the liability of
Tenant (or its estate in bankruptcy), or of any remedy for the enforcement of Tenant's liability
under the Lease, resulting from the operation of any present or future provision of the United
States Bankruptcy Code or other statute or from the decision of any court; (vii) rejection or
disaffirmance of the Lease in any such proceedings; (viii) assignment, sublease or other transfer



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of the Lease or the Premises, or any interest therein, by Landlord or Tenant; (ix) any disability or
other defense of Tenant; or (x) cessation of Tenant's liability for any cause whatsoever.

        c.      Until all Guaranteed Obligations are fully performed, Guarantor (i) has no right of
subrogation against Tenant due to any payment or performance by Guarantor; (ii) waives any
right to enforce any remedy Guarantor may now or hereafter have against Tenant due to any such
payment or performance; and (iii) subordinates any liability or indebtedness of Tenant now or
hereafter held by Guarantor to the Guaranteed Obligations in favor of Landlord.

3.      Representations and Warranties. Guarantor represents and warrants, as a material
inducement to Landlord to enter into the Lease, that (a) this Guaranty and each instrument
securing this Guaranty have been duly executed and delivered and constitute legally enforceable
obligations of Guarantor; (b) there is no action, suit or proceeding pending or, to Guarantor's
knowledge, threatened against or affecting Guarantor, at law or in equity, or before or by any
governmental authority, which might result in any materially adverse change in Guarantor's
business or financial condition; (c) as of the date hereof, Guarantor's financial condition is
adequate to secure Guarantor's obligations under this Guaranty; (d) execution of this Guaranty
shall not render Guarantor insolvent; (e) from and after the date hereof, Guarantor shall not take
any action, such as assuming additional liabilities, divesting assets or otherwise, which would
impair Guarantor's ability to perform its obligations under this Guaranty; and (f) Guarantor has a
bona fide interest in Tenant's financial success.

4.      Notice. Any notice or communication hereunder shall be given in writing by, and
deemed received upon, posting in a U.S. Postal Service receptacle, postage prepaid, registered or
certified mail, return receipt requested, or by expedited courier, where proof of delivery can be
shown, to Landlord as specified in the Lease, and to each Guarantor at the address(es) provided
below.

5.      Substitution of Guarantor. If any Guarantor sells or otherwise transfers (the
"Transferring Guarantor") its interest in Tenant to another Guarantor or any other party (the
"Replacement Guarantor") then the Transferring Guarantor shall be released from any
obligations under this Guaranty that arise from and after the date of such transfer so long as the
Replacement Guarantor agrees to be bound by the terms of this Guaranty and any obligations
hereunder arising from and after the date of such transfer.

5.      Interpretation. This Guaranty shall be governed by and construed in accordance with
applicable Law. The proper place of venue to enforce payment or performance under this
Guaranty shall be the county or other jurisdiction in which the Premises are located. The
representations, covenants and agreements set forth herein shall continue and survive the
termination of the Lease and/or this Guaranty. The masculine and neuter genders each include
the masculine, feminine and neuter genders. This instrument may not be changed, modified,
discharged or terminated orally or in any manner other than by an agreement in writing signed by
Guarantor and Landlord. The word "Guarantor" shall apply to each individual identified below,
each of whom shall be jointly and severally liable hereunder; subject to the Maximum Liability
of each Guarantor as set forth above. The words "Guaranty" and "guarantees" shall not be
interpreted to limit Guarantor's primary obligations and liability hereunder.


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6.      Consent to Jurisdiction. In any legal proceeding regarding this Guaranty, including
enforcement of any judgments, Guarantor irrevocably and unconditionally (a) submits to the
jurisdiction of the courts of law in the county or district in which the Property is located; (b)
accepts the venue of such courts and waives and agrees not to plead any objection thereto; and
(c) agrees that (i) service of process may be effected at the address specified in Paragraph 4
above, or at such other address of which Landlord has been properly notified, and (ii) nothing
herein shall affect Landlord's right to effect service of process in any other manner permitted by
Law.

7.      Successors and Assigns. This Guaranty shall inure to the benefit of Landlord and its
successors and assigns, and shall be binding upon Guarantor and its executors, administrators,
heirs, successors and assigns. Guarantor shall not assign any obligation hereunder without
Landlord's prior written consent. If any Guarantor who is a living person dies while this
Guaranty is in force, then such deceased Guarantor's heirs, executors, administrators and
representatives shall not make any distribution or disposition of assets from the estate without
first making provisions acceptable to Landlord for the satisfaction of such deceased Guarantor's
obligations (and contingent obligations) hereunder.

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IN WITNESS WHEREOF, Guarantor executes this Guaranty as of _ __;;,J=u=nec::....:::..:11::.....__ _, 2014.




                                                     Jonesboro, AR 72401




                                                     1001 CR 759
                                                     Jonesboro,AR 72401



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                                                     Subho Mullick, MD.
                                                     225 S. Main, Apt. 204
                                                     Jonesboro,AR 72401




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                                        Greg McGawD't-
                                        6750 W. Loop S., Suite 950
                                        Bellaire, TX 77401



                                        David Shoulders
                                        17400 N. Dallas Pkwy, Suite 100
                                        Dallas, Texas 75287




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